     Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 1 of 102




                     UNITED STATES DISTRICT COURT

                    MIDDLE DISTRICT OF PENNSYLVANIA

DELAWARE COUNTY EMPLOYEES )               Civ. Action No. 3:20-cv-01815-CCC
RETIREMENT SYSTEM, Individually )
and on Behalf of All Others Similarly )   CLASS ACTION
Situated,                             )
                                      )   The Honorable Christopher C. Conner
                         Plaintiff,   )   CONSOLIDATED COMPLAINT FOR
                                      )   VIOLATION OF THE FEDERAL
        vs.
                                      )   SECURITIES LAWS
CABOT OIL & GAS CORPORATION, )
et al.,                               )
                                      )
                         Defendants. )
                                      )   DEMAND FOR JURY TRIAL




4839-4959-3828.v1
       Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 2 of 102



                                         TABLE OF CONTENTS

                                                                                                                     Page
I.       INTRODUCTION AND SUMMARY OF THE FRAUD .............................. 1

II.      NATURE OF THE ACTION .......................................................................... 7

III.     JURISDICTION AND VENUE ...................................................................... 7

IV.      THE PARTIES ................................................................................................ 8

V.       SUBSTANTIVE ALLEGATIONS ............................................................... 13

         A.         Cabot’s Pennsylvania Drilling Operations Were (and Are)
                    Critically Important to the Company’s Business ................................ 13

         B.         Relevant Law Governing Cabot’s Drilling Operations....................... 15

                    1.      The Clean Streams Law ............................................................ 15

                    2.      The Oil and Gas Act ................................................................. 18

         C.         Cabot’s Management and Board Oversaw the Company’s
                    Purported Compliance with Applicable Environmental Laws ........... 19

                    1.      The Safety and Environmental Affairs Committee .................. 19

                    2.      The Audit Committee ............................................................... 20

                    3.      Cabot’s Code of Business Conduct .......................................... 21

         D.         Defendants Repeatedly and Falsely Assure Investors that
                    Cabot’s Fracking During the Class Period was in Compliance
                    with Governing Laws .......................................................................... 24

         E.         A Grand Jury Finds Cabot Knowingly Disregarded
                    Environmental Law Throughout the Class Period .............................. 24

                    1.      Cabot’s Fracking Activities in the Marcellus Shale
                            Deposit ...................................................................................... 26


                                                           -i-
4839-4959-3828.v1
      Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 3 of 102




                                                                                                                       Page


                    2.       The Environmental Impact of Cabot’s Fracking on
                             Susquehanna County Residents ................................................ 27

                             a.        Nolan Scott Ely ............................................................... 29

                             b.        Eric Roos ........................................................................ 30

                             c.        Testimony by Other Dimock Area Residents................. 32

                    3.       The PaDEP Confirms That Cabot’s Drilling Operations
                             Released Methane Pollution Into Water Supplies .................... 33

                    4.       Cabot’s Specific Criminal Acts Throughout the Class
                             Period ........................................................................................ 38

                             a.        Crimes Related to Cabot’s Problem Wells Covered
                                       by the December 2010 Consent Order ........................... 39

                             b.        Crimes Related to Cabot’s Problem Wells Drilled
                                       After 2015 Outside of Dimock ....................................... 41

         F.         Cabot Repeatedly Violates Pennsylvania’s Environmental
                    Regulations .......................................................................................... 43

                    1.       Cabot Fails to Remediate its Gas Wells Pursuant to its
                             Obligations Under the December 2010 Consent Order
                             and Settlement Agreement ........................................................ 45

                    2.       Cabot’s Violations Outside the Dimock Box ........................... 48

                    3.       Additional Violations ................................................................ 49

         G.         A Former Cabot Geologist Corroborates the Grand Jury’s
                    Findings ............................................................................................... 50

VI.      DEFENDANTS’ FALSE AND MISLEADING STATEMENTS AND
         OMISSIONS .................................................................................................. 53
                                                            - ii -
4839-4959-3828.v1
      Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 4 of 102




                                                                                                                  Page


VII. THE TRUTH EMERGES ............................................................................. 64

VIII. DEFENDANTS ACTED WITH SCIENTER ............................................... 67

         A.         The PaDEP and Criminal Investigation Findings Contribute to a
                    Strong Inference of Defendants’ Scienter ........................................... 68

         B.         Defendants Have Engaged in a Pattern of Wrongdoing ..................... 69

         C.         Cabot’s Gas Exploration and Production in Pennsylvania Is a
                    Core Operation .................................................................................... 70

         D.         Defendants’ Internal Reporting Tracked Cabot’s
                    (Non)Compliance with Environmental Laws ..................................... 70

         E.         Dinges Was Personally Involved in Addressing the Allegations
                    that Cabot’s Drilling Operations Polluted Pennsylvania Waters ........ 71

         F.         Defendants Were Incentivized to Ignore Cabot’s Criminal
                    Violations of Environmental Law ....................................................... 74

         G.         Defendants’ Violation of Company Policy Supports an
                    Inference of Scienter ........................................................................... 75

         H.         Cabot Operates in a Highly Regulated Industry ................................. 75

         I.         Dinges’s and Schroeder’s SOX Certifications and Signing of
                    SEC Filings Further Support a Strong Inference of Scienter .............. 76

         J.         The Duration and Magnitude of the Misconduct Adds to the
                    Inference of Scienter ........................................................................... 77

         K.         Dinges’s Stock Sales Support a Motive to Commit Fraud ................. 77

IX.      LOSS CAUSATION ..................................................................................... 78


                                                          - iii -
4839-4959-3828.v1
      Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 5 of 102




                                                                                                         Page


X.       APPLICABILITY OF THE PRESUMPTION OF RELIANCE AND
         FRAUD ON THE MARKET ........................................................................ 82

XI.      NO SAFE HARBOR ..................................................................................... 83

XII. CLASS ACTION ALLEGATIONS .............................................................. 84

XIII. CLAIMS FOR RELIEF ................................................................................. 86

XIV. PRAYER FOR RELIEF ................................................................................ 88

XV. JURY DEMAND ........................................................................................... 89




                                                    - iv -
4839-4959-3828.v1
     Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 6 of 102




         Lead Plaintiff Delaware County Employees Retirement System (“Lead

Plaintiff”) and additional plaintiff Iron Workers District Council (Philadelphia and

Vicinity) Retirement and Pension Plan (“Iron Workers” and together with Lead

Plaintiff, “Plaintiffs”), by its undersigned attorneys, individually and on behalf of all

others similarly situated, alleges the following based upon personal knowledge as to

Plaintiffs and upon information and belief based on the investigation of Plaintiffs’

attorneys as to all other matters, which included, among other things, a review and

analysis of: Cabot Oil & Gas Corporation (“Cabot” or the “Company”) U.S. Securities

and Exchange Commission (“SEC”) filings, conference calls, Defendants’ (as defined

herein) public statements, media reports, analyst reports, industry reports, other

complaints filed against Defendants, findings by regulators and law enforcement

resulting from investigations of Cabot, interviews with former Cabot employees and

persons knowledgeable about the Company’s business, and other publicly available

information. Plaintiffs believe substantial additional evidentiary support will likely

exist for the allegations set forth herein after a reasonable opportunity for discovery.

I.       INTRODUCTION AND SUMMARY OF THE FRAUD

         1.         This case concerns a straightforward fraudulent scheme – Cabot and its

Chairman and CEO, Dan O. Dinges (“Dinges”); CFO, Scott C. Schroeder

(“Schroeder”); and Vice President and Regional Manager, Phil L. Stalnaker

(“Stalnaker”) (collectively, the “Defendants”) sought to portray the Company as a

                                              -1-
4839-4959-3828.v1
     Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 7 of 102




good steward of the environment and in compliance with applicable environmental

laws, telling investors that Cabot’s “efforts to improve the environment” and to do the

“right thing” made the Company a “beacon of light.” Indeed, throughout the Class

Period, Cabot’s SEC filings stated that Defendants “substantially compl[ied] with the

Clean Water Act and related federal and state regulations.” Yet nothing could have

been further from the truth. In reality, Cabot cut corners and knowingly violated the

very environmental laws it publicly claimed to uphold – polluting Pennsylvania’s

waters over and over again, despite repeated notices of regulatory violations and

consent orders, for over a decade.

         2.         Cabot is, fundamentally, a fracking company. “Fracking” refers to an

unconventional drilling process used for extracting natural gas from underground

geological formations that could not otherwise be extracted by conventional drilling

methods. Cabot has, for years, exploited the Marcellus Shale Deposit – a geological

formation located underground that stretches 575 miles beneath parts of Pennsylvania,

West Virginia, Ohio, and New York – for natural gas extraction through fracking.

         3.         Prior to and leading into the Class Period, Cabot was clamoring to

establish itself as an environmentally responsible fracking business. At that time, the

Company’s drilling operations in the town of Dimock, in Susquehanna County, had

become the poster child for the hazards fracking posed to rural communities.

Susquehanna County was, and is, critically important to Cabot; it is where

                                             -2-
4839-4959-3828.v1
     Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 8 of 102




substantially all of the Company’s natural gas production occurs. Without drilling in

Susquehanna County, Cabot has virtually no business whatsoever.

         4.         Following a January 1, 2009 explosion at a Dimock resident’s water well,

the Pennsylvania Department of Environmental Protection (the “PaDEP” or the

“Department”) began investigating Cabot’s gas wells in the area. They found that

Cabot’s drilling caused methane gas to migrate into numerous Dimock residents’

water wells and, as a result, the PaDEP and the Company entered into a Consent

Order and Agreement on November 4, 2009, which Stalnaker signed (the “November

2009 Consent Order”), to address the problem.

         5.         But on April 15, 2010, the PaDEP announced in a press release that

Cabot and the Department had entered into a new, sweeping Consent Order and

Agreement, which Dinges signed (the “April 2010 Consent Order”), following

“Cabot’s failure to abide by the terms” of the November 2009 Order. PaDEP

Secretary John Hanger stated in a related press release that “Cabot had every

opportunity to correct these violations, but failed to do so. Instead, it chose to ignore

its responsibility to safeguard the citizens of this community and to protect the natural

resources there.” As Secretary Hanger explained in the press release, drilling

companies “have the legal responsibility to design and construct their wells to keep all

gas contained within the wells and to prevent gas from moving into fresh



                                               -3-
4839-4959-3828.v1
     Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 9 of 102




groundwater.” He added: “Gas migration is a serious issue that can have dire

consequences to affected communities.”

         6.         Then, on December 15, 2010, Cabot and the PaDEP entered into what

would be the final, global Consent Order and Agreement, which Dinges also signed,

concerning the Dimock pollution (the “December 2010 Consent Order”). While

refusing to take responsibility for polluting the water, Cabot did agree to “take all

actions necessary . . . to comply with all applicable environmental laws and

regulations, including all applicable provisions” of Pennsylvania’s Clean Streams

Law, Oil and Gas Act, and related regulations.

         7.         Following these consent orders, Cabot was eager to rebuild its reputation

and remove the overhang the story had on the Company’s stock price. As one stock

analyst at KeyBanc wrote on December 14, 2010: “We believe a settlement would be

received favorably by the market, as it would remove a hangover on the stock caused

by the negative press associated with its Marcellus operations.” Thus, after signing

the April 2010 Consent Order, Dinges assured investors on an April 29, 2010

conference call that the Company “takes safety in all environmental matters extremely

seriously” and that Cabot “will continue to cooperate fully with the Pennsylvania DEP

to remedy and resolve the items from the consent order.” Following the December

2010 Consent Order, Cabot issued a press release, in which Dinges further stated: “we

have redoubled our efforts with the Pennsylvania Department of Environmental

                                               -4-
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 10 of 102




Resources to resolve past issues” and that the Company was “committed to

responsible operations within Susquehanna County.”

         8.         But none of that was true. Throughout the Class Period, Cabot continued

knowingly violating Pennsylvania environmental laws, through repeated felony and

misdemeanor violations, yet falsely assured the public that the Company complied

with the law, that Cabot had “an unwavering commitment to comply with or exceed

all regulations to enhance the environment and communities where we operate,” and

that it made “every effort to reduce and limit [the Company’s] impact on air, water

and the environment,” as making the “least possible impact to the environment” was

of “paramount” importance to Cabot.

         9.         On June 15, 2020, however, following a grand jury investigation, Cabot

was charged by the Pennsylvania Office of the Attorney General with fifteen criminal

charges, including nine felonies, for failing to fix known faulty gas wells leaking

methane into the residential water supplies in Dimock and surrounding communities.

The grand jury found “that, over a period of many years, and despite mounting

evidence, Cabot Oil & Gas failed to acknowledge and correct conduct that polluted

Pennsylvania water through stray gas migration,” before further criticizing Cabot’s

“long-term indifference to the damage it caused to the environment and citizens of

Susquehanna County.”



                                              -5-
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 11 of 102




         10.        Pennsylvania Attorney General Josh Shapiro said in a video statement

that same day that “Cabot took shortcuts that broke the law, damaged our

environment, harming our water supplies and endangering Pennsylvanians. They

put their bottom line ahead of the health and safety of our neighbors.” Indeed,

numerous residents of Susquehanna County testified during the grand jury proceeding

that, shortly after Cabot had drilled gas wells near their homes, they began

experiencing nausea, bodily blotches and rashes after showering, vision problems, and

difficulty breathing and that their water turned black and oily in some instances or

orange in others. Testing showed poisons such as arsenic and lead in their water.

Their property values plummeted. Cabot had knowingly polluted Pennsylvania waters

and failed to comply with PaDEP orders requiring the Company to remediate its gas

wells to stop the discharge of methane gas, in direct contravention of its Class Period

representations to the contrary.

         11.        When this truth was partially revealed in Company disclosures and the

June 15, 2020 announcement of the Pennsylvania Attorney General’s criminal charges

against Cabot, the Company’s stock price plummeted, causing millions of dollars of

damages to investors who bought Cabot securities at prices inflated by Defendants’

fraudulent scheme. This action seeks to recover those losses.




                                              -6-
4839-4959-3828.v1
      Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 12 of 102




II.      NATURE OF THE ACTION

         12.        This is a federal securities class action on behalf of all purchasers of

Cabot common stock (the “Class”) between October 23, 2015 and June 12, 2020,

inclusive (the “Class Period”), seeking to pursue remedies under §§10(b) and 20(a) of

the Securities Exchange Act of 1934 (the “Exchange Act”), as amended by the Private

Securities Litigation Reform Act of 1995 (“PSLRA”) and Rule 10b-5 promulgated

thereunder (17 C.F.R. §240.10b-5).

III.     JURISDICTION AND VENUE

         13.        This Court has jurisdiction over the subject matter of this action pursuant

to 28 U.S.C. §1331 and §27 of the Exchange Act (15 U.S.C. §78aa), as the claims

asserted herein arise under and pursuant to §§10(b) and 20(a) of the Exchange Act (15

U.S.C. §§78j(b) and 78t(a)) and SEC Rule 10b-5 promulgated thereunder (17 C.F.R.

§240.10b-5).

         14.        Venue is proper in this District pursuant to §27 of the Exchange Act and

28 U.S.C. §1391(b)-(d). Cabot primarily operates and transacts substantial business in

this District, and many of the acts charged herein, including the violations of

environmental law that underlie Defendants’ materially false and misleading

statements and dissemination of the materially false and misleading information,

occurred in this District.



                                                -7-
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 13 of 102




         15.        As of December 31, 2020, Cabot’s operations were concentrated in the

Marcellus Shale in northeast Pennsylvania – where substantially all of Cabot’s total

equivalent production for the year was derived. Cabot’s Marcellus Shale properties,

which represent the Company’s primary operating area, are principally located in

Susquehanna County, Pennsylvania within this District. During the Class Period,

Dinges and Schroeder routinely traveled from Houston to Cabot’s Pittsburgh,

Pennsylvania office, where Stalnaker was located, and all three Individual Defendants

(as defined herein) visited the Company’s Susquehanna operations multiple times per

year.

         16.        In connection with the acts and conduct alleged in this complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate

commerce, including, but not limited to, the U.S. mails, interstate telephone

communications, and the facilities of the New York Stock Exchange (“NYSE”).

IV.      THE PARTIES

         17.        As set forth in its previously-filed certification (see ECF No. 6-3), Lead

Plaintiff Delaware County Employees Retirement System – a defined benefit pension

fund with more than 4,600 beneficiaries that provides retirement benefits for current

and former Delaware County employees – purchased Cabot common stock at

artificially inflated prices during the Class Period and suffered damages as a result of

Defendants’ alleged misconduct.

                                                -8-
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 14 of 102




         18.        Additional plaintiff Iron Workers, headquartered in Philadelphia,

Pennsylvania, also purchased Cabot common stock at artificially inflated prices during

the Class Period and suffered damages as a result of Defendants’ alleged misconduct.

The certification of Iron Workers, setting forth its Class Period trades in Cabot

common stock, is attached as Exhibit A to this document.

         19.        Defendant Cabot is an independent oil and gas company engaged in the

development, exploitation, and exploration of oil and gas properties, including

through fracking, exclusively in the continental United States. Since 2015, Cabot has

continuously refined its operating focus, and narrowed its natural gas development

effort to the Marcellus Shale in northeast Pennsylvania. The Company’s shares trade

on the NYSE under the symbol COG. It is incorporated in Delaware, and its offices

are located in Pittsburgh, Pennsylvania; Montrose, Pennsylvania (in Susquehanna

County); and Houston, Texas.

         20.        Defendant Dinges was Cabot’s CEO and Chairman of the Company’s

Board of Directors (the “Board”) during the Class Period. Dinges remains Cabot’s

CEO and Chairman of the Board at the time of this writing. During the Class Period,

Dinges sold 66,610 shares of his Cabot stock for proceeds of more than $1.8 million.

As CEO, Dinges spoke on Cabot’s behalf in press releases, conference calls, and SEC

filings. Pursuant to §§302 and 906 of the Sarbanes-Oxley Act of 2002, SEC Rule

13a-14(a), and 18 U.S.C. §1350, Dinges certified and signed the Company’s Forms

                                             -9-
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 15 of 102




10-K filed with the SEC on February 22, 2016, February 27, 2017, March 1, 2018,

February 26, 2019, and February 25, 2020. Dinges further certified and signed the

Company’s Forms 10-Q filed with the SEC on October 23, 2015, May 3, 2016, July

29, 2016, October 28, 2016, April 28, 2017, July 28, 2017, October 30, 2017, April

27, 2018, July 27, 2018, October 26, 2018, April 26, 2019, July 26, 2019, and October

25, 2019. In addition, the Company’s Annual Reports were issued under his name,

and included an introductory letter signed by Dinges to shareholders.

         21.        Defendant Schroeder was Cabot’s CFO and Executive Vice President

during the Class Period. Schroeder remains in these positions at the time of this

writing. As CFO, Schroeder spoke on Cabot’s behalf in press releases, conference

calls, and SEC filings. Pursuant to §§302 and 906 of the Sarbanes-Oxley Act of 2002,

SEC Rule 13a-14(a) and 18 U.S.C. §1350, Schroeder certified and signed the

Company’s Forms 10-K filed with the SEC on February 22, 2016, February 27, 2017,

March 1, 2018, February 26, 2019, and February 25, 2020. Schroeder further certified

and signed the Company’s Forms 10-Q filed with the SEC on October 23, 2015, May

3, 2016, July 29, 2016, October 28, 2016, April 28, 2017, July 28, 2017, October 30,

2017, April 27, 2018, July 27, 2018, October 26, 2018, April 26, 2019, July 26, 2019,

October 25, 2019, and May 1, 2020. In addition, the Company’s Annual Reports were

issued under his name.



                                           - 10 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 16 of 102




         22.        Defendant Stalnaker was Cabot’s Vice President, Regional Manager

North Region at the start of the Class Period, and he has been a Cabot executive

officer since 2009. During the Class Period, he was promoted in 2017 to Senior Vice

President, North Region, and promoted again in 2019 to Senior Vice President,

Operations. Stalnaker oversaw Cabot’s Susquehanna operations from the Company’s

Pittsburgh, Pennsylvania offices. Prior to and during the Class Period, Stalnaker was

repeatedly described on Cabot conference calls as “running our north region” and the

person who “runs our Marcellus.” As an executive officer of the Company, Stalnaker

spoke on behalf of Cabot, including during quarterly earnings conference calls, and

the Company’s Annual Reports were issued under his name.

         23.        Defendants Dinges, Schroeder, and Stalnaker are sometimes collectively

referred to herein as the “Individual Defendants.” During the Class Period, the

Individual Defendants, as senior executive officers and/or a director of Cabot, were in

possession of and privy to confidential, proprietary information concerning Cabot, its

operations, finances, and financial condition, and its legal and regulatory compliance

and liability related to its gas wells.

         24.        Because of their positions as Cabot’s senior-most executive officers, the

Individual Defendants obtained, had access to, and/or were in possession of materially

adverse nonpublic information concerning Cabot via internal corporate documents and

communications with other corporate officers and employees, attendance at

                                               - 11 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 17 of 102




management and/or Board meetings (and committees thereof), and via the reports,

presentations, and other information provided to them in connection therewith. As

detailed below, Dinges and Stalnaker also received, including as the named addressees

or signatory on behalf of Cabot, nonpublic regulatory letters, agreements and notices

of violation sent by Pennsylvania authorities to the Company related to the facts and

circumstances underlying the claims in this case. As a result of their possession of

such information, the Individual Defendants knew or recklessly disregarded that the

adverse facts specified herein had not been disclosed to, and were being concealed

from, the investing public.

         25.        As senior executive officers and controlling persons of a publicly traded

company whose common stock, during the Class Period, was registered with the SEC

pursuant to the Exchange Act and was actively traded on the NYSE and governed by

the federal securities laws, the Individual Defendants had a duty to promptly

disseminate accurate and truthful information regarding Cabot’s operations, business,

and financial statements and to correct any previously issued statements that had

become materially misleading or untrue, so that the market price of Cabot stock would

be based upon truthful and accurate information. Defendants’ materially false

statements and omissions during the Class Period violated these requirements and

obligations.



                                               - 12 -
4839-4959-3828.v1
     Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 18 of 102




         26.        The Individual Defendants, because of their positions of control and

authority as officers and/or a director of the Company, were able to, and did, control

the disclosures in various SEC filings, press releases, and public statements pertaining

to the Company during the Class Period. Each Individual Defendant was provided

with information alleged herein to be misleading before or shortly after its issuance

and/or had the ability and/or opportunity to prevent its issuance or cause it to be

corrected. Accordingly, each Individual Defendant is responsible for the accuracy of

the public statements detailed herein and is, therefore, primarily liable for the

misrepresentations contained in those public statements.

         27.        Each Defendant is liable as a participant in a fraudulent scheme and

course of business that operated as a fraud or deceit on purchasers of Cabot common

stock by engaging in the violative conduct alleged herein, which caused Cabot

securities to trade at artificially inflated prices during the Class Period.

V.       SUBSTANTIVE ALLEGATIONS

         A.         Cabot’s Pennsylvania Drilling Operations Were (and Are)
                    Critically Important to the Company’s Business

         28.        During the Class Period, Cabot generated billions of dollars in revenue

each year from its oil and gas operations, primarily in Pennsylvania. In 2015, Cabot’s

revenues exceeded $1.3 billion. By 2019, the Company’s revenue grew to more than

$2 billion. The source of Cabot’s financial growth during and before the Class Period

was its operations in the Marcellus Shale, located in northeastern Pennsylvania. Cabot
                                              - 13 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 19 of 102




was, in fact, “named #1 performing S&P 500 stock” in 2011, “driven by [its] success

in the Marcellus” Shale in Pennsylvania. Today, “Cabot is one of the largest and

lowest-cost U.S. producers of gas in the prolific Marcellus region of Pennsylvania.”

ECF 41-1 at 32.

         29.        Cabot describes its position in the Marcellus Shale as the “cornerstone

asset of its portfolio” and the “primary driver of record production and reserve

growth” during the period since 2008. By the start of the Class Period in 2015,

Cabot’s Marcellus Shale properties in Susquehanna County, Pennsylvania, already

represented the Company’s largest operating and growth area in terms of reserves

(i.e., oil or gas that can be recovered at a financially feasible cost), production, and

capital investment, and approximately 90% of Cabot’s 2015 total equivalent

production (a standardized measure of oil and gas production) came from the

Marcellus Shale. By 2019, “substantially all” of Cabot’s annual total equivalent

production came from its Marcellus Shale operations.

         30.        Like its growth during the Class Period, Cabot’s future is also tied to the

Marcellus Shale. In 2010, the Company’s largest field, known as the Dimock field,

located in northeastern Pennsylvania, alone made up approximately 46% of the

Company’s proved reserves (i.e., a metric describing the amount of hydrocarbon

resources that can be recovered from a deposit with a reasonable level of certainty),

and was Cabot’s only field that contained more than 15% of the Company’s proved

                                               - 14 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 20 of 102




reserves. As of December 31, 2016, 97% of Cabot’s year-end proved reserves were

natural gas and 93% were located in the Marcellus Shale. By 2019, all of Cabot’s

proved undeveloped reserves were located in Susquehanna County, Pennsylvania.

         B.         Relevant Law Governing Cabot’s Drilling Operations
         31.        Cabot’s oil and gas exploration and production operations in

Pennsylvania are subject to an array of federal, state, and local laws and regulations.

During the Class Period, Cabot told investors that:

         Our operations are subject to extensive federal, state and local laws and
         regulations relating to the generation, storage, handling, emission,
         transportation and discharge of materials into the environment. Permits
         are required for the operation of our various facilities. These permits can
         be revoked, modified or renewed by issuing authorities. Governmental
         authorities enforce compliance with their regulations through fines,
         injunctions or both. Government regulations can increase the cost of
         planning, designing, installing and operating, and can affect the timing of
         installing and operating, oil and natural gas facilities.

         32.        Because Cabot’s drilling operations are primarily located in

Pennsylvania, that state’s laws concerning the oil and gas industry are particularly

relevant to this case, especially its environmental protection laws, including the

Pennsylvania Clean Streams Law, 35 P.S. §§691.1 et seq.

                    1.    The Clean Streams Law

         33.        Pennsylvania enacted its Clean Streams Law to preserve and improve the

purity of the state’s waters for the protection of public health. The Clean Streams

Law’s objective is not only to prevent further pollution of Pennsylvania’s waters, but

                                             - 15 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 21 of 102




also to restore streams in Pennsylvania to a clean and unpolluted state. The law

recognizes that the prevention and elimination of water pollution is directly related to

the economic future of Pennsylvania. Under the law, water pollution includes the

“contamination of any waters of the Commonwealth such as will create or is likely to

create a nuisance or to render such waters harmful, detrimental or injurious to public

health, safety or welfare.” To further its goal of preventing water pollution, the Clean

Streams Law provides certain prohibitions against and penalties for polluters.

         34.        Section 301 of the Clean Streams Law, in particular, prohibits

unauthorized discharges of “industrial waste,” which broadly includes “any liquid,

gaseous, radioactive, solid or other substance, not sewage, resulting from any

manufacturing or industry.” Section 301 states: “No person or municipality shall

place or permit to be placed, or discharged or permit to flow, or continue to discharge

or permit to flow, into any of the waters of the Commonwealth any industrial wastes,

except as hereinafter provided in this act.” Section 307 further provides:

                No person or municipality shall discharge or permit the discharge
         of industrial wastes in any manner, directly or indirectly, into any of the
         waters of the Commonwealth unless such discharge is authorized by the
         rules and regulations of the department or such person or municipality
         has first obtained a permit from the department . . . .

         35.        Section 401, moreover, prohibits other types of pollutants, stating:

                It shall be unlawful for any person or municipality to put or place
         into any of the waters of the Commonwealth, or allow or permit to be
         discharged from property owned or occupied by such person or

                                              - 16 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 22 of 102




         municipality into any of the waters of the Commonwealth, any substance
         of any kind or character resulting in pollution as herein defined . . . .

         36.        It is a crime to cause air or water pollution or violate any provision of the

Clean Streams Law. As further detailed in Section 611, it is also a crime to fail to

comply with or violate any order of the PaDEP or its rules and regulations:

               It shall be unlawful to fail to comply with any rule or regulation of
         the department or to fail to comply with any order or permit or license of
         the department, to violate any of the provisions of this act or rules and
         regulations adopted hereunder, or any order or permit or license of the
         department, to cause air or water pollution . . . .

         37.        In addition to civil penalties, “[a]ny person or municipality who

negligently violates any provision of this act, any rule or regulation of the department,

any order of the department, or any condition of any permit issued pursuant to the act

is guilty of a misdemeanor of the second degree” (§602(b)), and “[a]ny person or

municipality who intentionally or knowingly violates any provision of this act, any

rule or regulation of the department, any order of the department, or any condition of

any permit issued pursuant to the act is guilty of a felony of the third degree.” Section

602(b.1).

         38.        The PaDEP is responsible for determining when pollution has occurred,

for formulating and adopting rules and regulations, and issuing such orders as are

necessary to implement the provisions of the Clean Streams Law. The PaDEP, as the

primary enforcer of the law, is also tasked with investigating any alleged source of

pollution of Commonwealth waters, and instituting appropriate proceedings under the
                                                - 17 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 23 of 102




provisions of the law to discontinue any such pollution. Among the recourse provided

by the Clean Streams Law is the PaDEP’s ability to issue orders as necessary to “aid

in the enforcement of the provisions of this act” or to modify, suspend, or revoke

permits. The PaDEP may also issue orders that require persons “to cease operations

of an establishment which, in the course of its operation, has a discharge which is in

violation of any provision of this act.”

         39.        Under Section 205 of the Commonwealth Attorneys Act and Section 601

of the Clean Streams Law, violations of the Clean Streams Law may be referred to the

Pennsylvania Office of the Attorney General by the PaDEP or local district attorneys.

                    2.    The Oil and Gas Act

         40.        The PaDEP also enforces Pennsylvania’s Oil and Gas Act and the rules

and regulations promulgated thereunder. These rules require, for example, that

operators properly case and cement their wells so as to prevent the migration of gas or

other fluids into fresh groundwater. 25 Pa. Code §78.81(a)(2)-(3). The rules also set

cement and well construction standards and require that an operator report and correct

defective, improper, or insufficient cement casings on gas wells. See 25 Pa. Code

§§78.86; 78a.73(b); 78a.85(a)(5). The failure to abide by these rules constitutes a

violation under the Oil and Gas Act.




                                             - 18 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 24 of 102




         41.        During the Class Period, Cabot failed to ensure that its drilling activities

complied with these laws, and knowingly violated them, thereby committing

numerous felony and misdemeanor criminal acts under Pennsylvania law.

         C.         Cabot’s Management and Board Oversaw the Company’s
                    Purported Compliance with Applicable Environmental
                    Laws

         42.        Cabot’s management, Board, and its committees regularly assessed legal

and regulatory risks to the Company, specifically including those risks associated with

environmental law compliance, throughout the Class Period. Cabot’s management

routinely provided the Board and its committees with reports on these subject matters

and reviewed Cabot’s operations concerning environmental matters. Members of

Cabot’s management also received notices from regulators, including the PaDEP,

when its drilling operations violated applicable laws and regulations.

                    1.    The Safety and Environmental Affairs Committee
         43.        Cabot’s Safety and Environmental Affairs Committee (the “S&EA

Committee”), which was made up of at least three Board members, assisted the Board

in providing “oversight and support” of the Company’s safety and environmental

policies, programs, and initiatives. The S&EA Committee’s charter specifically

included, among other things, responsibility for “[r]eviewing and providing input to

management and the Board regarding the Company’s compliance with laws,

regulations, policies, programs and practices with regard to environmental, health, and

                                                - 19 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 25 of 102




safety matters,” including by, “receiving and reviewing with management reports

regarding . . . the Company’s management of and responses to releases,

investigations, notices of violations, remediations, civil action, or other occurrences

involving environmental laws or regulations.” As detailed herein, Cabot was subject

to numerous such investigations and notices of violations in Pennsylvania during the

Class Period. See §§V.E.-F., infra.

         44.        The S&EA Committee was required to report its actions and

recommendations to the Board following each S&EA Committee meeting, which

occurred at least twice per year.

         45.        The S&EA Committee would, moreover, “oversee[] and review[] all

external disclosures regarding the Company’s environmental, health and safety

sustainability data, programs, initiatives and outcomes and providing insight and

recommendations to the Board of Directors on such matters.”1

                    2.   The Audit Committee

         46.        As stated in Cabot’s Proxy Statements, the function of the Audit

Committee is to assist the Board in overseeing, among other things, “the integrity of

the financial statements of the Company” and the “compliance by the Company with

legal and regulatory requirements.” Each year, Company management provided


1
       During the Class Period, the S&EA Committee’s name was changed to the “Environment,
Health & Safety Committee.”

                                           - 20 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 26 of 102




Cabot’s Audit Committee with “periodic reports” on these areas of potential exposure,

including litigation, financial reporting and disclosures, and regulatory risks, among

others.

                    3.    Cabot’s Code of Business Conduct
         47.        During the Class Period, Cabot publicly maintained its Code of Business

Conduct (sometimes referred to herein as the “Code”) on the Company’s website.

The Code concerned, among other things, Cabot’s purported adherence to

environmental laws. Cabot required that every director, officer, and employee sign a

statement that he or she understood and would comply with the principles enumerated

in the Code. The Code further stated that Cabot would ensure that all employees

complied with the Code’s policies.

         48.        As relevant here, the Code stated that “[i]t is the Company’s policy to

observe and comply with all governmental laws, rules and regulations applicable to it

or the conduct of its business wherever located.” Concerning “The Environment,” the

Code stated:

                 It is Company policy to comply fully with the letter and the spirit
         of all applicable federal, state, and local environmental protection laws
         and regulations (the “Environmental Laws”). The Company will
         conduct operations in such a manner as to meet or exceed all
         Environmental Laws in its business activities.




                                              - 21 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 27 of 102




To achieve this policy, the Code affirmed Cabot’s practice of “routinely review[ing]

the conduct of its operations in an effort to strive for continuous improvement in its

environmental performance.”

         49.        The foregoing representations were not merely aspirational statements

about what the Company should do, but were concrete statements about what Cabot

was in fact doing.

         50.        For example, Cabot held daily operational meetings at 7:30 a.m. with its

Montrose and Pittsburgh offices, in person and telephonically, to review daily well

operations, including well procedures and any problems at each well and rig.

Geologists, drilling engineers, and completion engineers would brief Stalnaker, a

member of Cabot’s senior management, at these meetings.

         51.        Cabot also specifically referenced the Code in its SEC filings during the

Class Period. For example, in its 2016 Proxy Statement on Form Def 14A filed with

the SEC on March 22, 2016, the Company stated:

                All employees, officers and directors are required to comply with
         the Company’s Code of Business Conduct to help ensure that the
         Company’s business is conducted in accordance with the highest
         standards of moral and ethical behavior. The Code of Business Conduct
         covers all areas of professional conduct . . . , as well as requiring strict
         adherence to all laws and regulations applicable to the Company’s
         business. Employees, officers and directors are required annually to
         reply to a Code of Conduct Questionnaire, which is designed to elicit
         information related to any known or possible violation of the Code.



                                               - 22 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 28 of 102




         52.        In its Proxy Statements, Cabot directed investors to the full text of the

Code of Business Conduct on the Company’s website at www.cabotog.com on a page

entitled “Governance.” The Code, moreover, was specifically incorporated by

reference during the Class Period in Cabot’s Forms 10-K filed with the SEC, which

also directed investors to the full text of the Code on Cabot’s website and the

Company’s description of the Code in its Proxy Statements.

         53.        It was not only critical that Cabot’s drilling operations in Susquehanna

County comply with Pennsylvania’s environmental laws to avoid regulatory and

enforcement penalties and risk, including potential criminal liability, which could

interfere with Cabot’s extensive Pennsylvania operations, but also because violating

such laws could (and did) harm the health of local residents and the value of their

properties. As Defendants knew, and admitted on their website, Cabot’s Susquehanna

County operations were situated in rural communities where the majority of residents

relied on groundwater wells as their primary source of water.

         54.        As detailed herein, however, in conduct that belied its public statements

to investors, Cabot routinely and knowingly violated Pennsylvania’s Clean Streams

Law and the Oil and Gas Act by polluting Susquehanna residents’ water supplies –

and then purposely avoided its obligations to remediate those violations throughout

the Class Period.



                                               - 23 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 29 of 102




         D.         Defendants Repeatedly and Falsely Assure Investors that
                    Cabot’s Fracking During the Class Period was in
                    Compliance with Governing Laws

         55.        As fully set forth in Sections VI.-VII., infra, during the Class Period

Defendants made materially false and misleading statements concerning Cabot’s

compliance with environmental law and regulations. For example, Cabot’s SEC Form

10-Ks filed throughout the Class Period stated that Defendants “believe that [they]

substantially comply with the Clean Water Act and related federal and state

regulations.”

         56.        Various Cabot Annual Reports explicitly professed Cabot’s “unwavering

commitment to comply with or exceed all regulations to enhance the environment

and communities where we operate” and that the Company made “every effort to

reduce and limit our impact on air, water and the environment.” Cabot, indeed,

claimed that making the “least possible impact to the environment remains

paramount in importance to us” and that the Company was “doing the right thing”

to “to improve the environment.” As explained further below, see §§V.E.-G.; VI.-

VII., infra, each of these statements, and others made by Defendants, were false and

misleading when made.

         E.         A Grand Jury Finds Cabot Knowingly Disregarded
                    Environmental Law Throughout the Class Period

         57.        During the latter portion of the Class Period, Pennsylvania convened a

grand jury – the Forty-Third Statewide Investigating Grand Jury (the “Grand Jury”) –
                                              - 24 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 30 of 102




to review evidence related to a comprehensive and ongoing statewide investigation of

numerous environmental crimes that occurred during fracking operations in

Pennsylvania by oil and gas companies, including Cabot. Members of the Grand Jury

received evidence, including sworn testimony provided by witnesses, regarding

violations by Cabot of the Clean Streams Law that occurred in and around

Susquehanna County, Pennsylvania. Based on that evidence, the Grand Jury made

numerous findings of fact concerning Cabot’s drilling activities in that area. As a

result of these findings, on February 11, 2020, the Grand Jury recommended that

criminal charges be filed against Cabot, including numerous felony charges, based on

its determination that Cabot’s drilling and fracking activities caused widespread

contamination of residential water supplies in Susquehanna County in direct violation

of Pennsylvania law. The Grand Jury’s findings, however, were not made public until

June 15, 2020, when Cabot was criminally charged.

         58.        Specifically, the Grand Jury found that:

         [O]ver a period of many years, and despite mounting evidence, Cabot
         Oil & Gas failed to acknowledge and correct conduct that polluted
         Pennsylvania water through stray gas migration. Indeed, some of these
         gas wells have been in place for more than a decade, yet Cabot has only
         recently taken steps to remediate them. In light of Cabot’s long-term
         indifference to the damage it caused to the environment and citizens of
         Susquehanna County, these were not merely technical violations. . . .

         59.        The Pennsylvania Office of the Attorney General led an investigation

which reviewed the Grand Jury’s findings of fact and found that they were consistent

                                              - 25 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 31 of 102




with the Attorney General’s own investigative findings. Based on the Grand Jury’s

findings of fact and its own investigation, the Attorney General found probable cause

that Cabot committed the crimes alleged and knowingly violated Pennsylvania

environmental laws and regulations. The Pennsylvania Attorney General, Josh

Shapiro, announced criminal charges against Cabot on June 15, 2020. A preliminary

hearing is scheduled to take place in the matter on July 20, 2021.

                    1.    Cabot’s Fracking Activities in the Marcellus Shale
                          Deposit
         60.        Fracking is a multistep process that involves drilling down deep into the

earth to shale rock deposits. Next, fluid is injected into the rock at high pressures to

create fractures in the shale that release the natural gas otherwise trapped within the

rock. The gas is then able to flow freely up to the surface to be captured by oil and

gas operators, like Cabot.

         61.        As the initial step of this process, heavy machinery is used to drill a hole,

known as a wellbore, into the ground at the well site. Piping, known as casing, is then

inserted down into the hole to stabilize the wellbore, and the drillers pour cement into

spaces between the casing and the walls of the wellbore to both secure the piping in

place and to fill any voids through which gas, such as methane, might escape.

Methane is the chief constituent of natural gas, which contains from 50 to 90 percent

methane, and is a potentially explosive gas that burns readily in air.


                                                - 26 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 32 of 102




         62.        Numerous potential flaws that arise during the cementing process,

however, may cause the cement in a well to fail to bond properly. For example, when

the cement is pumped in to seal the space between the wellbore and the pipe that lines

it, groundwater may dilute the cement, which affects the cement’s ability to bond to

and fill the voids between the casing and wellbore, causing imperfections in the

cement. Once a well goes into production, such imperfections provide a pathway for

gas, including methane, to migrate into and contaminate other nearby geological

features, such as drinking water aquifers.

         63.        Cabot began fracking in Susquehanna County, Pennsylvania, in the mid-

2000s. Cabot’s activities started after it leased mineral rights from multiple residents

in Dimock Township, Susquehanna County. In 2006, it started to drill gas wells on

their properties.

                    2.    The Environmental Impact of Cabot’s Fracking on
                          Susquehanna County Residents

         64.        By 2008, residents in the Dimock area began to experience changes to

their water, causing them to suspect that methane gas was migrating into their water

supply from Cabot’s new, nearby wells. Some began to see effervescence in their

water, while others noticed sediment. But one event in particular alerted local

residents to the problem – when the water well of Norma Fiorentino, a Dimock area

resident, spontaneously exploded. Despite the fact that the explosion happened in

close proximity to Cabot’s drilling operations, the Company denied responsibility.
                                       - 27 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 33 of 102




         65.        The PaDEP began investigating soon thereafter and concluded that

Cabot’s drilling activities released stray methane gas that had migrated into and

contaminated the aquifer in Dimock. The PaDEP determined that no fewer than 18

drinking water supplies serving 19 homes were affected by Cabot’s Dimock drilling

activities. The methane migration was so prevalent that the PaDEP took legal action

against Cabot, which ultimately resulted in the Company entering into a Consent

Order and Agreement with the PaDEP, which was finalized in the December 2010

Consent Order. The December 2010 Consent Order shut down Cabot’s operations

within a nine-square mile area in Dimock (known as the “Dimock Box”) and

established a series of obligations, which remain in force today, including that Cabot

restore or replace the impacted drinking water supplies and undertake remedial work

on its gas wells to eliminate any further methane migration. As noted above, Dinges

signed the December 2010 Consent Order on behalf of Cabot.

         66.        As would be disclosed at the end of the Class Period, numerous Dimock

residents who relied on well or spring water for their water supply testified to the

Grand Jury regarding the effect Cabot’s drilling activities had on their homes, health,

and drinking water. Despite the December 2010 Consent Order requiring that Cabot

remediate its wells to stop the migration of methane into their water, residents testified

that the problems never abated and have in fact continued for over a decade.



                                             - 28 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 34 of 102




                          a.    Nolan Scott Ely

         67.        Nolan Scott Ely and his extended family lived on 183-acres of farmland

in Dimock. Starting in 2008, Cabot drilled six wells on the Ely property and, soon

thereafter, Mr. Ely’s wife began experiencing nausea and bodily blotches. Mr. Ely

assured his wife that the recent drilling activity could not be the cause. After all, Mr.

Ely, himself a Cabot employee, had worked on many of the Company’s well sites,

helping to construct well pads and set up drill rigs. He had repeatedly asked his well

site supervisor if there was any possibility that the drilling could contaminate his

water. His supervisor, as Mr. Ely testified, “kept telling me, no, there is no possible

way.”

         68.        But Mr. Ely’s groundwater had been contaminated by stray methane gas

from Cabot’s mining activities. A relative who lived next door brought Mr. Ely two

jugs of tap water, filled from their common water source. The water was brown, and

when Mr. Ely applied a lighter to it, the water caught fire – “flames came flying out

of the jug.” He then turned on the kitchen faucet and found that he was able to set the

running water on fire as well. When he alerted Cabot to the problem, he was told he

should leave his house because it might explode. Testing of the well water at his

house revealed “astronomical” amounts of methane, as well as ethane, propane,

excessive levels of sodium, and magnesium.



                                             - 29 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 35 of 102




         69.        Prior to discovering the contamination, however, Mr. Ely and his family

had regularly been drinking the water. Mr. Ely experienced vision problems, such as

“tunnel vision” while driving. His wife had difficulty breathing and dizziness, and she

continued to experience rashes on her skin after showering. The contamination of his

property from Cabot’s activities took more than just a physical and emotional toll on

Mr. Ely and his family – it also took a financial one. While their land was once

valued at $1.2 million, it is now valued at just $153,000, an 87% decrease.

         70.        Mr. Ely was surprised by Cabot’s reaction to his plight given that the

Company was not only a local business, but his employer. He testified:

         I spent a lot of time with them. I knew them. I knew them, and I worked
         with them to try to get them to help us out with[] our situation. And they
         just – they didn’t care . . . they weren’t really doing anything other than
         just bringing me water, which didn’t last very long.

                          b.    Eric Roos

         71.        Eric Roos lived in Montrose, Susquehanna County for 29 years. When

Cabot commenced drilling in the County in the mid-to late 2000s, an agent of the

Company approached him to sign a lease that would allow drilling on his land in

return for royalties. Effectively forcing Mr. Roos to sign, the Cabot agent told him

that if he refused to sign the lease, the Company would legally be able to take what it

wanted from his property. Mr. Roos signed the lease, but at no time did Cabot inform

him that its drilling activities could contaminate his well water.


                                              - 30 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 36 of 102




         72.        As with Mr. Ely, problems with Mr. Roos’s water began shortly after

Cabot had drilled a number of wells near his home in 2009. Mr. Roos testified that

there were violent blasts of gas and water while his wife was washing dishes,

intimating that the Rooses’ water was contaminated with methane and should not be

consumed. Cabot agreed, without admitting it had caused any stray gas migration, to

install a vent on Mr. Roos’s well because his well head was located in the basement of

his home. That meant that explosive concentrations of methane emanating from his

well water put the inhabitants of the house at risk.

         73.        In addition to the potential for an explosion, high methane concentrations

can also cause asphyxiation in rooms where water is used, such as bathrooms. Despite

these dangers, it took six months before Cabot installed the vent at the Rooses’

residence. And in addition to methane, the water in Mr. Roos’s well was also found to

contain lithium, barium, manganese, and other toxic chemicals. Due to Cabot’s

failure to remediate, the Rooses were forced to obtain their drinking water from a

public well, which required a 14-mile trip every time they needed water.

         74.        A decade later, the problem remains. At the time Mr. Roos testified in

March 2019, his neighbors were still having problems with their water. Mr. Roos told

the Grand Jury that he would like to move away, but added, “I don’t know who will

buy my house now. How can I leave?”



                                               - 31 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 37 of 102




                          c.     Testimony by Other Dimock Area Residents

         75.        One of the Rooses’ neighbors testified that she and her husband built

their home on land in Dimock that the couple had bought in 2003. Their home also

relied on well water. Beginning in February 2008, a new oil or gas well was

constructed in the area every month, the closest being just 650 feet away from their

house. By late fall of 2008 the neighbor testified that she began finding black, oily

water in her washing machine. She later found orange water coming from the kitchen

faucet and in the toilet.

         76.        In April 2010, a test of her well water revealed the presence of ethylene

glycol, propylene glycol, and two other unidentified hazardous chemicals. The

neighbor further recalled that when coming out of the tap, the water would foam with

“an Alka Seltzer consistency,” smelled like turpentine, and left behind a “black

slime.” In 2012, water testing showed manganese present at twice the state limit and a

high level of lithium. A 2018 water test found arsenic, lead, sodium, uranium,

lithium, and propane. Refusing to accept responsibility, Cabot representatives told her

the arsenic in her well water must have come from “apple orchards.” The couple has

not been able to drink water from their property for ten years.

         77.        Her neighbors in Susquehanna County similarly reported changes in their

water’s color, taste, smell, and appearance, along with “Alka Seltzer-like” bubbling.

Some also described explosive bursts from their faucets that could blow a plate out of

                                               - 32 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 38 of 102




a person’s hands while washing dishes. Many of the neighbors similarly experienced

rashes and other skin problems following bathing after Cabot’s drilling started.

Despite this, Cabot has, for many years, declined to remedy the gas well integrity

issues that the PaDEP found caused stray methane migration into Dimock water

sources.

                    3.    The PaDEP Confirms That Cabot’s Drilling
                          Operations Released Methane Pollution Into Water
                          Supplies
         78.        Methane is naturally present in the surface and groundwater in

Susquehanna County as a result of the normal decomposition of organic matter. This

naturally present methane is known as “biogenic” methane gas. Another type of

methane gas – known as “thermogenic” methane gas – is created by heat and pressure

deep in the geologic strata. Biogenic and thermogenic gases have two different

chemical identities. Consequently, laboratory tests can identify methane as either

biogenic or thermogenic.

         79.        The methane gas identified in the contaminated water in Susquehanna

County has been, by and large, identified as thermogenic in the testing of samples

over the ten-plus year period that the pollution problems in Susquehanna County have

evolved. Unlike biogenic gas, thermogenic gas remains trapped underground until it

is released by drilling activities. As PaDEP Program Manager Seth Pelepko explained

to the Grand Jury, if “the signature looks like a deep gas that has been isolated for

                                            - 33 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 39 of 102




hundreds of millions of years, it shouldn’t be there unless there is an impairment or

pathway that has been opened up.” Such a newly opened pathway, he concluded,

existed in Susquehanna County, allowing thermogenic methane to pollute local water,

because of “the way the [Cabot] wells were constructed in this area, the gas wells.”

The Grand Jury learned, through testimony, that Cabot’s well integrity issues were

related to problems with the cement jobs at its wells. Either gas flowed through the

cement while it was hardening, resulting in permanent channels through which gas

could escape, or the cement did not completely fill certain spaces between the casing

and the wellbore. The PaDEP used various sophisticated geochemistry analyses to

confirm this conclusion about Cabot’s role in releasing thermogenic methane into

local water supplies.

         80.        Notably, when Cabot began gas exploration in Susquehanna County, it

collected pre-drilling samples of the drinking water of residents nearby the

Company’s wells. Cabot, however, failed to test the samples for methane levels.

When announcing criminal charges against Cabot in June 2020, Pennsylvania’s

Attorney General stated that the Company deliberately did not test for methane in

residential water wells prior to drilling in order to maintain plausible deniability:

“Cabot’s failure to test its pre-drill water samples for methane eliminated the ability to

establish a baseline for promptly assessing and addressing the problem of stray gas . . .



                                            - 34 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 40 of 102




. In essence, they didn’t test their samples so that there would be no proof that they

were contaminating nearby water supplies.”

         81.        To compensate for this deliberate omission by Cabot, the PaDEP

conducted its own analysis to establish baseline methane levels in local water by

reviewing 10,615 water samples collected by other organizations operating in the area,

including the United States Environmental Protection Agency, the United States

Agency for Toxic Substances and Disease Registry, Duke University scientists, and

consultants engaged by area property owners. The PaDEP used the samples to

establish, using isotopic geochemistry, the origin of methane gas in the Dimock area

groundwater.

         82.        As part of this review, the PaDEP also analyzed 12 post-drilling samples

of drinking water supplies within Dimock Township dating back to 2009 that had

been contaminated with “stray” methane gas from Cabot wells. These samples

exhibited extremely high and hazardous levels of methane. For example, the highest

level readout, 92 mg/l, exceeded the point at which gas-filled water can explode.

Over 50% of the time, the methane concentration in these impacted water supplies

was greater than 10 mg/l – the warning range for dangerous methane concentration.

As noted above, aside from the risk of explosion or fire, high methane concentrations

can also cause asphyxiation in rooms where water is used, such as bathrooms. The

methane levels in these impacted water supplies far exceeded the background methane

                                              - 35 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 41 of 102




levels found in the area at large:          In 90% of testing, the naturally occurring

background level of methane, by comparison, was less than 0.5 mg/l.

         83.        Citing these analyses, PaDEP Program Manager Pelepko testified to the

Grand Jury that Cabot’s defective wells caused methane to migrate into homeowners’

water wells and that this connection is demonstrated by the elevated levels of

thermogenic methane found in multiple data sets. Pelepko further testified that, in

addition to methane, he looked for other substances in well water when testing for

contamination from fracking activities. He stated that he found elevated levels of

these substances in the Dimock well tests, and further explained that these other

substances likely were lying inert at the bottom of the water wells, but were stirred up

by migrated methane bubbling through the water.

         84.        The hazardous test results drove the PaDEP to investigate and

comprehensively address the methane migrating from Cabot’s wells into Dimock area

residents’ water supplies in 2009 and 2010, culminating in the December 2010

Consent Order. As part of that investigation, the PaDEP determined that 18 water

supplies, serving 19 homes, in Dimock Township around Carter Road had been

affected by Cabot’s drilling. The PaDEP further found, as reflected in the December

2010 Consent Order, that Cabot had not stopped the discharge of methane into the

groundwater aquifers as initially promised as part of the November 2009 Consent

Order and that the contamination was ongoing.

                                             - 36 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 42 of 102




         85.        Despite the remediation obligations memorialized in the December 2010

Consent Order and Cabot’s public promises to comply with all applicable

environmental laws and regulations, the Grand Jury found that contamination from

Cabot’s drilling activity continued unabated after the December 2010 Consent Order

and throughout the Class Period.

         86.        Ken Kennedy, an Oil and Gas Inspector Supervisor at the PaDEP who

investigated integrity issues in Cabot’s gas wells, testified to the Grand Jury that he

became involved in the ongoing Dimock investigation in 2013. He explained that

certain of Cabot’s wellbore integrity issues had been addressed in 2009-2010, but that

PaDEP inspections in 2011 raised questions about the integrity of additional wells.

Kennedy rechecked these wells, and other wells that shared the same well pad. By

2015, he had identified 11 wells needing further evaluation. Cabot then did some of

its own testing, but did not begin actively remediating any of these wells until 2018.

         87.        This was particularly egregious because the December 2010 Consent

Order required that Cabot restore or replace impacted drinking water supplies and

undertake remedial work of certain of its gas wells to eliminate further migration.

Yet, according to testimony and evidence presented to the Grand Jury, Cabot

undertook little to no remedial work on its gas wells until approximately August 2018

– shortly after the Grand Jury began its investigation of Cabot’s activities – and even

then, the Company started work on only certain wells.

                                             - 37 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 43 of 102




         88.        As a result of Cabot’s repeated failures to remediate the environmental

harms it was continuing to create in Pennsylvania and its overall “indifference” to the

ongoing damage it had caused, the Grand Jury, unbeknownst to investors, found in

February 2020 that:

         [O]ver a period of many years, and despite mounting evidence, Cabot
         Oil & Gas failed to acknowledge and correct conduct that polluted
         Pennsylvania water through stray gas migration. Indeed, some of these
         gas wells have been in place for more than a decade, yet Cabot has only
         recently taken steps to remediate them. In light of Cabot’s long-term
         indifference to the damage it caused to the environment and citizens of
         Susquehanna County, these were not merely technical violations.

         The Grand Jury concluded that, as to Cabot, “criminal charges are appropriate.”

                    4.    Cabot’s Specific Criminal Acts Throughout the Class
                          Period

         89.        Following the Grand Jury’s recommendation, the Pennsylvania Office of

the Attorney General filed fifteen criminal counts against Cabot, including nine

felonies for knowing violations of Pennsylvania law, on or around June 15, 2020,

stemming from stray methane migration from numerous Cabot wells into groundwater

sources (the “June 15, 2020 Presentment of Charges”). Notably, additional criminal

charges were contemplated but not ultimately brought due to the Clean Streams Law’s

statute of limitations. The charges filed were based on two categories of problem

Cabot wells: (i) those covered by the December 2010 Consent Order that were not

remediated as of 2015; and (ii) other, more recently drilled wells in Susquehanna

County outside of the Dimock area.
                                              - 38 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 44 of 102




                          a.    Crimes Related to Cabot’s Problem Wells
                                Covered by the December 2010 Consent Order

         90.        The June 15, 2020 Presentment of Charges disclosed numerous facts that

were previously unknown to investors, including that prior to and throughout the

Class Period, Cabot did, among other violations, “knowingly discharge, permit to flow

or continue to discharge or permit to flow, methane into groundwater” on one or more

occasions from numerous of the Company’s gas wells through at least June 11, 2018 –

the date the PaDEP sent a letter to Stalnaker (the “June 2018 Letter”) listing the

Company’s extensive continuing violations for discharges of pollution that remained

unresolved under the December 2010 Consent Order. According to the June 15, 2020

Presentment of Charges, these criminal violations occurred:

                   On or about August 14, 2009 through at least June 11, 2018, from the
                    gas wells G Shields 1V, G Shields 2H, G Shields 4H and G Shields 5H
                    located in Dimock Township, Susquehanna County, Pennsylvania;

                   On or about July 16, 2008 through at least June 11, 2018, from the gas
                    wells Costello 1V, Costello 2V, Gesford 4H and Gesford 8H located in
                    Dimock Township, Susquehanna County, Pennsylvania;

                   On or about October 31, 2008 through at least June 11, 2018, from the
                    gas wells Ratzel 1H, Ratzel 2H, and Ratzel 3V located in Dimock
                    Township, Susquehanna County, Pennsylvania; and

                   On or about March 27, 2008 through at least June 11, 2018, from the
                    gas wells Ely 4H and Ely 6H located in Dimock Township, Susquehanna
                    County, Pennsylvania.

         91.        Each of the above four charges constitutes a felony for knowingly

violating the Clean Streams Law’s prohibition against the discharge of industrial

                                             - 39 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 45 of 102




waste. 35 P.S. §691.301. Based on this same conduct, the Attorney General also

charged Cabot with an additional four felony counts under the Clean Streams Law for

knowingly polluting Pennsylvania waters. 35. P.S. §691.401.

         92.        The Attorney General further charged that on or about December 15,

2010 through January 9, 2020, Cabot, based on the above conduct, did “knowingly

fail to comply with orders of the [PaDEP], including but not limited to the December

15, 2010 Consent Order and Settlement Agreement, when it failed to remediate its gas

wells to eliminate the discharge of natural gas, which allowed contamination to

continue unabated,” in violation of the Clean Streams Law’s prohibition of unlawful

conduct, another felony. 35. P.S. §691.611.

         93.        For each of the gas wells described in ¶90, supra, the PaDEP had

previously served Cabot with Notices of Violation (or “NOVs”), both prior to and

during the Class Period, alerting Cabot that its cementing and casing activities failed

to prevent the migration of gas into fresh groundwater.2 Despite Cabot’s obligations

to remediate these wells and to eliminate methane gas migration pursuant to the

December 2010 Consent Order, however, these violations remained outstanding and

were inadequately addressed (and repeated in other locations) by the Company during

the Class Period.


2
       The continuing violations in these NOVs were detailed in the June 2018 Letter, which did not
come to light until described in the June 15, 2020 Presentment of Charges.

                                              - 40 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 46 of 102




         94.        In particular, the PaDEP issued the NOV for the G Shields wells on

October 20, 2011; for the Costello and Gesford wells on June 16, 2014; for the Ratzel

wells on December 19, 2014; and for the Ely wells on March 21, 2018. Despite Cabot

management’s receipt of the NOVs, these violations remained outstanding as of the

June 2018 Letter, which, as noted above, listed the Company’s continuing violations

under the December 2010 Consent Order.3 Cabot’s violations are further detailed in

§V.F., infra.

                          b.     Crimes Related to Cabot’s Problem Wells
                                 Drilled After 2015 Outside of Dimock
         95.        In addition to failing to address the problems with the Dimock gas wells

subject to the December 2010 Consent Order, Cabot began drilling new gas wells

outside Dimock, but still within Susquehanna County, that suffered from similar

violations and well integrity issues: (a) in 2016, Cabot drilled gas wells on the Howell

well pad in Auburn Township; (b) in 2017, the Company drilled the Jeffers Farm

wells in Harford Township; and (c) in 2019, Cabot drilled the POWERS M wells in

Auburn Township. Shortly after Cabot drilled these gas wells, problems began to

appear in local water supplies, just as they had in Dimock.




3
      Nor were these NOVs contemporaneously disclosed. Rather, they did not become publicly
known until the June 2018 Letter came to light in connection with the June 15, 2020 Presentment of
Charges.

                                              - 41 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 47 of 102




         96.        For each of these wells, and at the time unknown to investors, the PaDEP

served Cabot with NOVs during the Class Period for cementing and casing activities

that failed to prevent the migration of gas into fresh groundwater, in violation of

Pennsylvania law: (a) the Howell gas wells 2H, 4H, 6H and 8H were the subject of

two separate PaDEP NOVs on March 16, 2017 and June 20, 2017; (b) the Jeffers

Farm gas wells 7H, 8H, 9H, l0H, 11H, 12H, and 14H were the subject of a NOV on

November 16, 2017; and (c) the POWERS M gas well 002 was the subject of a NOV

on October 18, 2019.

         97.        Further, the NOVs for the Howell and Jeffers Farm wells remained

unresolved, and were both included in the June 2018 Letter listing Cabot’s continuing

violations as of that date. These violations are further detailed in ¶107, infra. Cabot

would later reveal in a SEC Form 10-Q, filed on July 26, 2019, that it had received

two proposed Consent Order and Agreements that were related to the June 2017 NOV

at the Howell gas wells and the November 2017 NOV at the Jeffers Farm gas wells.

¶¶137-139, infra. The other pertinent NOVs identified in the June 2018 Letter were

not publicly known until that letter was detailed in the June 15, 2020 Presentment of

Charges.

         98.        The violations described in ¶¶95-97, supra, and ¶107, infra, formed the

basis of additional criminal charges against Cabot for further violations the Clean



                                              - 42 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 48 of 102




Streams Law’s prohibition against the discharge of industrial waste and other

pollutions. 35 P.S. §691.301; 35. P.S. §691.401.

         99.        In announcing the charges against Cabot in June 2020, Attorney General

Shapiro concluded: “The Grand Jury presentments prove that Cabot took shortcuts

that broke the law, and damaged our environment – harming our water supply and

public health.” Cabot “put their bottom line ahead of the health and safety of

Pennsylvanians,” and “[t]he Grand Jury repeatedly found evidence of a company that

placed profit over our laws.”

         F.         Cabot Repeatedly Violates Pennsylvania’s Environmental
                    Regulations

         100. As detailed in the June 2018 Letter, but unknown to investors until 2020,

Cabot – both prior to and throughout the Class Period – repeatedly ignored known

environmental violations that the Company was obligated to address under the

December 2010 Consent Order. These serial violations, which in many instances rose

to the level of criminal offenses, belied Defendants’ public Class Period

misrepresentations, as set forth in in §§VI.-VII., infra. Numerous of these violations

were based on Cabot’s defective cementing and casing activities that failed to prevent

the migration of gas into fresh groundwater. These included many of the same

violations underlying the Pennsylvania Attorney General’s 2020 criminal case against

Cabot.


                                             - 43 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 49 of 102




         101. Pursuant to the December 2010 Consent Order signed by Dinges on

behalf of Cabot, the Company expressly agreed to “take all actions necessary

including, but not limited to, the requirements set forth in th[e] Consent Order and

Settlement Agreement, to comply with all applicable environmental laws and

regulations, including all applicable provisions of the Clean Streams Law, Oil and Gas

Act, and Regulations [promulgated thereunder].” Cabot further agreed to conduct

ongoing testing of its gas wells and water supplies until the identified violations were

adequately remediated.

         102. To ensure Cabot’s compliance with the December 2010 Consent Order,

the PaDEP conditioned its authorization for the completion of any existing Cabot

wells and the drilling of any new gas wells in the Dimock Township area upon the

PaDEP confirming that Cabot was in compliance with all obligations under the order,

following a written request by the Company to renew drilling.

         103. Although Cabot had undertaken some superficial efforts to remediate the

environmental impact of its drilling activities, the PaDEP made clear in the nonpublic

June 2018 Letter that the Company’s obligations under the December 2010 Consent

Order remained outstanding throughout the Class Period, as it had yet to restore and/or

replace the polluted water supplies and prevent and remediate the unpermitted

discharge of natural gas into fresh groundwater sources.



                                         - 44 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 50 of 102




                    1.   Cabot Fails to Remediate its Gas Wells Pursuant to its
                         Obligations Under the December 2010 Consent Order
                         and Settlement Agreement

         104. Despite its agreement to satisfy its obligations under the December 2010

Consent Order and comply with all applicable environmental laws and regulations,

Cabot failed to do so between 2010 and 2020. Both before and during the Class

Period, the PaDEP consistently advised Cabot, through a parade of NOVs, that it had

failed to comply with the terms of the order and that it remained in continuing

violation of applicable environmental laws.

         105. The June 2018 Letter, which was written in response to a request by

Cabot to begin drilling new gas wells within the Dimock Box, provided a detailed

history of Cabot’s failure to comply with its obligations under the December 2010

Consent Order and identified each continuing violation that remained unresolved as of

the date of the letter. As a result of the unresolved violations, the PaDEP denied

Cabot’s request to begin drilling, stating that “[u]ntil these compliance matters are

resolved, Cabot is not in compliance with its obligation under the 2010 Agreement

and cannot begin drilling new Gas Wells within the Dimock/Carter Road Area.”

         106. The June 2018 Letter referenced no fewer than four NOVs within

Dimock that Cabot had failed to resolve in accordance with its obligations under the

December 2010 Consent Order:



                                           - 45 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 51 of 102




                    (a)   On October 20, 2011, the PaDEP privately issued Cabot a NOV,

which was addressed to Stalnaker, for stray gas migration and pollution of a water

supply. Although Cabot installed a treatment system on the water supply and

conducted some water sampling, it failed to provide the PaDEP with a final report

demonstrating satisfactory water quality of the impacted water supply. In light of this

deficiency, the PaDEP sent Cabot a follow-up letter on January 28, 2013, requesting

further information. Cabot failed to provide a full and complete response. Violations

cited in the October 20, 2011 NOV for failure to prevent the migration of gas or other

fluids into sources of fresh groundwater, the existence of defective casing or

cementing, and the unpermitted discharge of polluting substances, remained

unresolved as of the June 2018 Letter.

                    (b)   On June 16, 2014, the PaDEP privately issued Cabot another

NOV, which was addressed to Stalnaker, for stray gas migration and pollution of

water supplies. Based upon its investigation, the PaDEP determined that an additional

water supply had been impacted as a result of stray gas migration associated with

Cabot’s gas wells. Although Cabot drilled a new water well for the impacted resident

in response, it failed to permanently restore or replace the impacted water supply.

Issues with the integrity of Cabot’s gas wells were also unresolved. Violations cited

in the June 16, 2014 NOV for failure to prevent the migration of gas and other fluids



                                            - 46 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 52 of 102




into sources of fresh groundwater, as well as the unpermitted discharge of polluting

substances, remained unresolved as of the June 2018 Letter.

                    (c)   On December 19, 2014, the PaDEP privately issued Cabot another

NOV, which was addressed to Stalnaker, for stray gas migration and pollution of

water supplies. Based upon its investigation, the PaDEP determined that two

additional water supplies were impacted as a result of stray gas migration associated

with Cabot’s wells. Violations cited in the December 19, 2014 NOV for failure to

prevent the migration of gas or other fluids into sources of fresh groundwater, general

well construction and operation, cement standards, and the unpermitted discharge of

polluting substances remained unresolved as of the June 2018 Letter.

                    (d)   On March 21, 2018, the PaDEP privately issued Cabot another

NOV for stray gas migration and pollution of water supplies. Based upon its

investigation, the PaDEP determined that at least one additional water supply was

impacted as a result of stray gas migration associated with Cabot’s wells. Violations

cited in the March 21, 2018 NOV for failure to prevent the migration of gas or other

fluids into sources of fresh groundwater, general well construction and operation, and

the unpermitted discharge of polluting substances remained unresolved as of the June

2018 Letter.




                                             - 47 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 53 of 102




                    2.    Cabot’s Violations Outside the Dimock Box

         107. Following the December 2010 Consent Order, Cabot began drilling new

gas wells in areas outside the Dimock Box. These gas wells, too, were plagued with

integrity issues that similarly polluted water supplies – often just months after Cabot

installed the well – and were the subject of private NOVs from the PaDEP:

                    (a)   In 2016, Cabot drilled gas wells on the Howell pad in Auburn

Township, Susquehanna County. On March 16, 2017 and June 20, 2017, the PaDEP

privately issued Cabot NOVs for stray gas migration and pollution of water supplies at

the Howell pad. Based upon its investigation, the PaDEP determined that at least two

water supplies were impacted by stray gas migration associated with Cabot’s gas

wells. Violations cited in the June 20, 2017 NOV for failure to prevent the migration

of gas or other fluids into sources of fresh groundwater, inadequate well construction

and operation, cement standards, and unpermitted discharge of polluting substances

remained unresolved as of the June 2018 Letter.

                    (b)   In 2017, Cabot drilled gas wells on the Jeffers Farm in Harford

Township, Susquehanna County. On November 16, 2017, the PaDEP privately issued

a NOV to Cabot for a gas migration incident and pollution of private water supplies

from the Jeffers well. Based upon its investigation, the PaDEP determined that at

least two water supplies had been impacted by stray gas migration associated with

Cabot’s wells. Violations cited in the November 16, 2017 NOV for failure to prevent

                                             - 48 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 54 of 102




the migration of gas or other fluids into sources of fresh groundwater, general well

construction and operation, cements standards, and the unpermitted discharge of

pollution were unresolved as of the date of June 2018 Letter.

                    (c)   In 2019, Cabot drilled the POWERS M gas wells in Auburn

Township, Susquehanna County. On October 18, 2019, the PaDEP privately issued a

NOV to Cabot for stray gas migration and pollution of private water supplies. Based

upon its investigation, the PaDEP determined that at least one additional water supply

had been impacted as a result of stray gas migration associated with Cabot’s well.

Violations cited in the October 18, 2019 NOV for failure to prevent the migration of

gas or other fluids into sources of fresh groundwater, general well construction and

operation, and the unpermitted discharge of polluting substances were unresolved

through at least January 9, 2020, according to the June 15, 2020 Presentment of

Charges by the Attorney General.

                    3.    Additional Violations

         108. Cabot’s violations for failures to prevent methane gas migration were not

limited to those listed above. For example, in September 2011, and unbeknownst to

investors, the Company received yet another NOV, addressed to Stalnaker, for failing

to prevent the migration of gas into fresh groundwater sources in the area surrounding

several additional wells owned and operated by Cabot in Susquehanna County. As

described below (see ¶123, infra), Cabot later disclosed this particular violation after

                                            - 49 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 55 of 102




receiving a proposed consent order to resolve the issue with the PaDEP on November

12, 2015, four years after receiving the NOV. Stalnaker ultimately signed the final

version of the consent order and agreement, which Cabot fully executed on December

30, 2016.

         G.         A Former Cabot Geologist Corroborates the Grand Jury’s
                    Findings

         109. A former geologist in Cabot’s Pittsburgh office from 2011 to 2018 (the

“Geologist”) further supports the factual findings by both the Grand Jury and the

PaDEP. The Geologist, who advised Cabot engineers regarding Cabot’s drilling

activities, confirmed that problems plagued the cement casings Cabot installed at the

Company’s gas wells.

         110. The Geologist explained that if natural gas present in a geological

formation bubbled up during the cementing process after a well had been drilled, a

“micro-annular space” (i.e., a space between casings) could be created that would

allow gas to migrate into the water table. The Geologist also explained that a cement

job could otherwise be insufficient, which would also allow gas to migrate into the

water table. In other words, if the well was not cemented properly, it could create a

pathway for the gas to migrate into drinking water.

         111. To test the cement job in its wells, the Geologist stated that Cabot would

create a “cement bond log” by placing a rod containing sensors down into the well to

test the casings. The sensors sent out sound waves that would bounce off the walls of
                                         - 50 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 56 of 102




the casings and detect annular spaces that were devoid of cement. According to the

Geologist, the cement bond logs often showed that insufficient cement was present in

the well. Specifically, the Geologist stated that it was a common occurrence at Cabot

to observe poor or inadequate cement in the “surface casing string,” a secondary string

of casings installed specifically to protect the groundwater table. The inadequate

surface string cement casings were, in the Geologist’s view, “the number one issue for

gas migration at the Company’s drill sites.”

         112. The Cabot wells that the Geologist reviewed routinely did not contain

adequate cement bonds in the annular spacing. The Geologist stated that, “when you

saw a good log you were surprised.” The Geologist further indicated that Cabot’s

cementing problems were not isolated to the Dimock area, but were also present

everywhere over Cabot’s acreage.

         113. Cabot engineers and geologists received a copy of the cement bond log

report from the drill site, and the Geologist believed that Stalnaker reviewed copies of

the logs, as well, based on seeing them in his office. Cabot’s internal documentation

of casing issues at its wells, as described by the Geologist, is consistent with the

violations the PaDEP issued to the Company related to cementing and well integrity

problems found at Cabot’s wells. The Geologist explained, moreover, that when

issues were identified in the cement bond logs, the Company was reluctant to repair

the casings because of the expense. Once a surface string was set, it would take at

                                         - 51 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 57 of 102




least a day to fix, and Cabot would lose approximately $10,000 to $35,000 per-day in

rig costs alone due to the downtime it would take to repair the string. As the

Geologist stated, Cabot was “all about doing things fast and as cost effectively as

possible.” According to the Geologist, Cabot did not address the recurring issues

concerning the inadequate cement bonding and integrity of the surface string in its

wells.

         114. The Geologist also explained that Cabot had the ability to test gas

methane levels and isotopes present in residential water wells. This testing would

have identified if there was some level of gas migration prior to drilling, which would

have provided a baseline understanding of the amount of gas in the water supply – a

baseline that the Attorney General faulted Cabot for not measuring. The Geologist

further stated that Cabot only sampled well water from after a well was drilled if a

complaint regarding the well water was made, because every time the Company

pulled a water well cap, Cabot would be “attached” and “responsible” for that well.

The Geologist explained the Company’s view was, “no news is good news,” and that

Cabot did not want to be “attached” to, or have financial obligations for, the water

wells.

         115. The Geologist’s description of Cabot’s drilling process during the Class

Period is corroborated by information found on Cabot’s own website, which states, for

example, that “[m]aintaining an effective barrier between our oil and gas wells and

                                         - 52 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 58 of 102




water supplies is critical to the protection of these resources” and that “[m]ultiple

strings of steel pipe, known as casing, are then cemented into place as each well

section is drilled. The sections at the uppermost portion of the well are designed to

provide specific protection for groundwater sources while later sections provide an

isolated conduit for production.”

         116. Cabot’s website further states that “[b]efore hydraulic fracturing begins,

Cabot conducts a ‘cement bond evaluation’ using sound waves” and that “[a]ny

anomalies observed during these tests are evaluated and necessary pre-emptive

measures are taken to ensure wellbore integrity.” Cabot’s website also claims that the

Company can offer landowners nearby Cabot drill sites “the opportunity to have their

water resource supply tested at our expense,” including for “general water quality

indicators, metals, dissolved gases, and petroleum constituents.” During the Class

Period, however, Cabot failed to address well integrity issues after the cement bond

evaluations or test water supplies for baseline methane levels at affected residential

water wells. See §§V.E.-G., supra.

VI.      DEFENDANTS’ FALSE AND MISLEADING STATEMENTS
         AND OMISSIONS
         117. Throughout the Class Period, Defendants made a series of materially

false and misleading statements and omissions regarding the Company’s business,

operations, and legal and regulatory compliance. As detailed below, from 2015-2020,

Defendants affirmatively misstated that Cabot complied with applicable
                                  - 53 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 59 of 102




environmental laws and failed to disclose that: (1) Cabot failed to fix known faulty gas

wells and otherwise violated its obligations under the December 2010 Consent Order,

resulting in the pollution of Pennsylvania water supplies through stray gas migration;

(2) Cabot was exposed to significant civil and/or criminal liabilities in Pennsylvania

with respect to environmental matters, including for knowing environmental

violations that Cabot was obligated to address under the December 2010 Consent

Order and numerous NOVs and other communications from Pennsylvania authorities;

and (3) Cabot had inadequate environmental controls and procedures for installing and

maintaining its gas wells, including inadequate cement bonds and other casing defects

that were “the number one issue for gas migration” into groundwater at Cabot’s drill

sites.

         118. These issues were foreseeably likely to and did subject Cabot to

increased governmental scrutiny, investigation and enforcement, as well as increased

reputational and financial harm, and also impacted Cabot’s ability to achieve its

financial and operational projections. As a result, the Company’s public statements,

which touted Cabot’s purported compliance with environmental regulations and

downplayed the risks associated with its conduct in Pennsylvania, were materially

false and misleading when made.

         119. The Class Period begins on October 23, 2015, when Cabot filed its

quarterly report on Form 10-Q with the SEC (the “3Q15 10-Q”) which downplayed

                                         - 54 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 60 of 102




Cabot’s potential liabilities with respect to environmental matters, assuring investors,

in part:

                From time to time we receive notices of violation from
         governmental and regulatory authorities in areas in which we operate
         relating to alleged violations of environmental statutes or the rules and
         regulations promulgated thereunder. While we cannot predict with
         certainty whether these notices of violation will result in fines and/or
         penalties, if fines and/or penalties are imposed, they may result in
         monetary sanctions individually or in the aggregate in excess of
         $100,000.

         120. Defendants repeated this same statement in Cabot’s 2015 Form 10-K

filed on February 22, 2016 (“2015 10-K”), 2016 Form 10-K filed on February 27,

2017 (“2016 10-K”), 2017 Form 10-K filed on March 1, 2018 (“2017 10-K”), 2018

Form 10-K filed on February 26, 2019 (“2018 10-K”), and 2019 Form 10-K filed on

February 25, 2020 (“2019 10-K”). The Company further repeated the same statement

in Cabot’s other quarterly reports on Forms 10-Q filed with the SEC during the Class

Period.

         121. Appended as an exhibit to the 3Q15 10-Q were signed certifications

pursuant to the Sarbanes-Oxley Act of 2002, wherein Dinges and Schroeder certified

that the filing “does not contain any untrue statement of material fact or omit to state a

material fact necessary to make the statements made, in light of the circumstances

under which such statements were made, not misleading with respect to the period

covered by this report.” Dinges and Schroeder also attested that they had designed

disclosure controls to ensure that material information relating to the Company was
                                        - 55 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 61 of 102




made known to them. Dinges and Schroeder signed similar statements in connection

with the 2015 10-K filed on February 22, 2016, the 2016 10-K filed on February 27,

2017, the 2017 10-K filed on March 1, 2018, the 2018 10-K filed on February 26,

2019, and the 2019 10-K filed on February 25, 2020, and in connection with Cabot’s

other quarterly reports on Forms 10-Q filed with the SEC during the Class Period.

         122. On February 22, 2016, Cabot filed its 2015 Form 10-K with the SEC,

reporting the Company’s financial and operating results for the quarter and year ended

December 31, 2015, which touted the Company’s compliance with environmental law

and regulations, representing that Defendants “believe that [they] substantially

comply with the Clean Water Act and related federal and state regulations.” The

federal Clean Water Act, like the Pennsylvania Clean Streams Law, seeks to “restore

and maintain . . . the Nation’s waters” by, among other means, governing the

discharge of certain pollutants into the water. Defendants repeated this same bolded

statement in the 2016 10-K filed on February 27, 2017, the 2017 10-K filed on March

1, 2018, the 2018 10-K filed on February 26, 2019, and the 2019 10-K filed on

February 25, 2020.

         123. With respect to Cabot’s response to ongoing environmental matters

related to gas migration allegations in Susquehanna County, Pennsylvania, the 2015

10-K assured investors, in relevant part, that: (i) following receipt of a Notice of

Violation from the PaDEP in September 2011 for failure to prevent the migration of

                                        - 56 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 62 of 102




gas into fresh groundwater sources in the area surrounding several wells owned and

operated by Cabot in Susquehanna County, Pennsylvania, Defendants “have been

engaged with the PaDEP in investigating the incident and have performed

appropriate remediation efforts, including the provision of alternative sources of

drinking water to affected residents;” that Defendants “believe the source of methane

has been remediated and are working with the PaDEP to reach agreement on the

disposition of this matter;” (ii) on November 12, 2015, Defendants received a

“proposed Consent Order and Agreement [that] is the culmination of th[eir] effort[s]

and, if finalized, would result in the payment of a civil monetary penalty in an amount

likely to exceed $100,000, up to approximately $300,000;” and (iii) Defendants “will

continue to work with the PaDEP to finalize the Consent Order and Agreement and

bring this matter to a close.”

         124. Cabot’s 1Q16 Form 10-Q filed on May 3, 2016, 2Q16 Form 10-Q filed

on July 29, 2016, and 3Q16 Form 10-Q filed on October 28, 2016 contained

substantively similar representations as those set forth in ¶123. Cabot updated this

statement in the 2016 10-K filed on February 27, 2017, reflecting that Cabot had

finalized the Consent Order and Agreement with the PaDEP. It stated, in relevant

part:

         We believe the source of methane has been remediated and we entered
         into a Consent Order and Agreement with the PaDEP on December 30,
         2016. We agreed to pay a civil monetary penalty in the amount of

                                        - 57 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 63 of 102




         approximately $0.3 million and to continue to provide alternative sources
         of drinking water to affected residents until the affected water supplies
         are permanently restored. Further, the related gas well is being
         permanently plugged. Following the plugging of the gas well, additional
         monitoring will be required to ensure the source of methane has been
         remediated. Cabot continues to work with the PaDEP to bring this
         matter to a close.

         125. On or around March 15, 2017, Cabot published its 2016 Annual Report.

The 2016 Annual Report was prepared and distributed by and under the names of

Defendants on behalf of Cabot, and featured a letter to shareholders signed by Dinges

on behalf of Cabot, which stated, in relevant part: “First and foremost, Cabot’s

objective is to deliver profitable results and to conduct our operations in a safe and

prudent manner for the protection of our employees and contractors with an

unwavering commitment to comply with or exceed all regulations to enhance the

environment and communities where we operate.”

         126. On August 20, 2018, Schroeder spoke at the EnerCome Oil & Gas

Conference. During his presentation, he told investors that Cabot’s well completion

process was “environmentally friendly,” stating:

         We have more wells that we’re completing right now in the Upper
         Marcellus. And look to the February year-end reserve report for data on
         that. Question you might ask is, “Okay, why -- if you're doing them
         now, why don’t you tell us sooner?” Because of the way we complete
         our wells in the field to be environmentally friendly, green, however
         you want to say it, a long time ago, several years ago, we changed our
         completion technique.



                                          - 58 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 64 of 102




         127. Cabot then published its 2019 Annual Report on or around March 13,

2020. The 2019 Annual Report was prepared and distributed by and under the names

of Defendants on behalf of Cabot and featured a letter to shareholders signed by

Dinges on behalf of Cabot, which stated, in relevant part: “We make every effort to

reduce and limit our impact on air, water and the environment with the best

technologies currently available” and that “[o]ur commitment to free cash flow,

return on capital, and return of capital back to shareholders with the least possible

impact to the environment remains paramount in importance to us.”

         128. The 2019 Annual report further stated that “Cabot embraces

environmental innovation and is a leader in utilizing new technology to reduce our

overall impact on the environment” and that “[i]t is from this platform that we will

continue our efforts to improve the environment, being a beacon of light by doing

the right thing.”

         129. The statements referenced in ¶¶119-128 above were materially false and

misleading because Defendants omitted then-known (or recklessly disregarded)

material information detailed above, including that:

                    (a)   As confirmed by the June 2020 Presentment of Charges, Cabot

repeatedly failed to: (1) fix known faulty gas wells for years, in contravention of its

obligations under the December 2010 Consent Order and applicable law; (2)

remediate, over a period of years, continuing violations at its wells identified in

                                            - 59 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 65 of 102




various NOVs and formal letters issued to Cabot by the PaDEP, thereby knowingly

polluting Pennsylvania’s water supplies through stray gas migration and knowingly,

serially violating Pennsylvania laws, including the Clean Streams Law; and (3)

prevent stray methane gas migration into fresh groundwater by failing to employ

proper well construction and cement standards in wells across Pennsylvania in

violation of applicable law.

                    (b)   According to the Geologist, cement bond logs routinely identified

insufficient cement in Cabot’s wells, as well as poor or inadequate cement in the

“surface casing strings,” which were secondary casings specifically installed to protect

the groundwater table. The Geologist also stated that, “when you saw a good log you

were surprised.” The Geologist further indicated that the problems at Cabot were not

isolated to the Dimock area, but were present everywhere over Cabot’s acreage.

                    (c)   Cabot routinely and knowingly failed to comply with the

December 2010 Consent Order, itself a violation of the Clean Streams Law, when the

Company failed to remediate its gas wells to stop the migration of stray methane gas

into Pennsylvania waters.

                    (d)   The number of outstanding and continuing violations of

environmental law that Cabot knowingly failed to remediate constituted “long-term

indifference” to applicable law and the damage the Company caused to the



                                              - 60 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 66 of 102




environment and citizens of Susquehanna County, such that its violations were “not

merely technical” in nature, but criminal acts.

                    (e)   Cabot continually downplayed its potential civil and/or criminal

liabilities with respect to such environmental matters, despite Cabot’s management

receiving direct communications from Pennsylvania authorities regarding Cabot’s

serial violations and continuing failure to address it violations of environmental laws

and regulations, and its management, Board, and its committees regularly assessing

such legal and regulatory risks.

                    (f)   Cabot had inadequate environmental controls and procedures

and/or failed to properly mitigate known issues related to those controls and

procedures to ensure its gas wells prevented stray methane gas migration into fresh

groundwater supplies.

                    (g)   The foregoing was foreseeably likely to subject Cabot to increased

governmental scrutiny and enforcement, as well as increased reputational and

financial harm.

                    (h)   These issues were reasonably likely to, and would, adversely

impact Cabot’s ability to achieve its financial and operational projections, given that

substantially all of Cabot’s production is derived from its wells in Susquehanna

County, Pennsylvania.



                                              - 61 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 67 of 102




         130. In addition, the 2015 10-K contained materially false and misleading

representations about potential risks with respect to “environmental and safety

regulations, which can adversely affect the cost, manner or feasibility of doing

business” for Cabot, when, in fact, such risks were then existing. The 2015 10-K

represented, in relevant part, that Cabot’s:

         [O]perations are subject to extensive federal, state and local laws and
         regulations, including drilling, permitting and safety laws and regulations
         and those relating to the generation, storage, handling, emission,
         transportation and discharge of materials into the environment. These
         laws and regulations can adversely affect the cost, manner or feasibility
         of doing business. . . . Governmental authorities have the power to
         enforce compliance with their regulations, and violations could subject
         us to fines, injunctions or both. . . . . Failure to comply with these laws
         also may result in the suspension or termination of our operations and
         subject us to administrative, civil and criminal penalties as well as the
         imposition of corrective action orders. . . . .

         The 2016 10-K filed on February 27, 2017, the 2017 10-K filed on March 1,

2018, the 2018 10-K filed on February 26, 2019, and the 2019 10-K filed on February

25, 2020, contained substantively similar risk warnings.

         131. The statements referenced in ¶130 above were materially false and

misleading for the reasons stated in ¶129 herein.

         132. In Cabot’s 2015 Proxy Statement on Form Def 14A filed with the SEC

on March 12, 2015, the Company highlighted Cabot’s Code of Business Conduct as

requiring employees’ “strict adherence” to legal and regulatory requirements. The

Proxy Statement stated, in relevant part:

                                           - 62 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 68 of 102




                All employees, officers and directors are required to comply with
         the Company’s Code of Business Conduct to help ensure that the
         Company’s business is conducted in accordance with the highest
         standards of moral and ethical behavior. The Code of Business Conduct
         covers all areas of professional conduct . . . , as well as requiring strict
         adherence to all laws and regulations applicable to the Company’s
         business. Employees, officers and directors are required annually to
         reply to a Code of Conduct Questionnaire, which is designed to elicit
         information related to any known or possible violation of the Code. . . .

         133. Cabot’s other Proxy Statements filed during the Class Period contained

substantively similar representations as in ¶132.

         134. The statements contained in ¶¶132-133 were materially false and/or

misleading because Defendants misrepresented and failed to disclose that Cabot was

not in compliance with its Code of Business Conduct, including the requirement that

Cabot conduct its business in “strict adherence to all laws and regulations applicable

to the Company’s business,” for the reasons stated in ¶129 herein.

         135. Cabot’s Code of Business Conduct itself, which the Company made

publicly available and specifically referenced in Cabot’s Forms 10-K filed with the

SEC during the Class Period, stated, in relevant part, that “[i]t is the Company’s

policy to observe and comply with all governmental laws, rules and regulations

applicable to it or the conduct of its business wherever located.” Concerning “The

Environment,” the Code further stated:

                 It is Company policy to comply fully with the letter and the spirit
         of all applicable federal, state, and local environmental protection laws
         and regulations (the “Environmental Laws”). The Company will

                                            - 63 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 69 of 102




         conduct operations in such a manner as to meet or exceed all
         Environmental Laws in its business activities.

         136. The statements contained in ¶135 were materially false and/or misleading

because Defendants misrepresented and failed to disclose that Cabot was not in

compliance with its Code of Business Conduct, including the requirement that Cabot

“will conduct operations in such a manner as to meet or exceed all Environmental

Laws in its business activities,” for the reasons stated in ¶129 herein.

VII. THE TRUTH EMERGES

         137. On July 26, 2019, the Company filed its 2Q19 10-Q, reporting that it had

received two proposed Consent Order and Agreements related to two NOVs from the

PaDEP for failure to prevent the migration of gas into fresh groundwater sources in

the area surrounding Susquehanna County. As noted above, Cabot had received the

pertinent NOVs in June and November 2017. Specifically, the 2Q19 10-Q stated, in

part:

         We will continue to work with the PaDEP to finalize the [Consent
         Orders and Agreements], and to bring this matter to a close. With regard
         to the November 2017 [Notice of Violation], [t]he proposed [Consent
         Order and Agreement], if finalized as drafted, would require Cabot to
         submit a detailed written remediation plan, continue water sampling and
         other investigative measures and restore or replace affected water
         supplies and would result in the payment of a civil monetary penalty in
         an amount likely to exceed $100,000, up to approximately $355,000.
         We will continue to work with the PaDEP to finalize the [Consent Order
         and Agreement], and to complete the ongoing investigation and
         remediation.


                                          - 64 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 70 of 102




         138. Despite this announcement, which partially revealed the truth of

Defendants’ fraudulent scheme, Defendants continued to misstate and conceal the true

extent of their violations and exposure to financial and reputational harm.

         139. For example, in the same section of the 2Q19 10-Q, the Defendants

assured investors that, following the receipt of the NOVs from the PaDEP, Defendants

“have been engaged with the PaDEP in investigating the incidents and have

performed appropriate remediation efforts, including the provision of alternative

sources of drinking water to the affected residents”; that, “[w]ith regard to the June

2017 [NOV], [Defendants] believe these water quality complaints have been

resolved, and [they] are working with the PaDEP to reach agreement on the

disposition of this matter;” that “[t]he proposed CO&A [for the June 2017 Notice of

Violation] is the culmination of [Defendants’] effort[s];” that Defendants “will

continue to work with the PaDEP to finalize the CO&A [related to the June 2017

NOV], and to bring this matter to a close;” and that, with respect to the November

2017 NOV, Defendants “will continue to work with the PaDEP to finalize the CO&A,

and to complete the ongoing investigation and remediation.”            Although this

announcement partially revealed that the Company was not in compliance with

applicable law, the full extent of the Company’s violations continued to be concealed,

and the bolded statements in this paragraph were materially false and misleading for

the reasons stated in ¶129 herein.

                                        - 65 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 71 of 102




         140. Then, on June 15, 2020, following the Grand Jury’s recommendation, the

Attorney General’s office charged Cabot with fifteen criminal counts arising from its

failure to fix faulty gas wells, thereby polluting Pennsylvania’s water supplies through

stray gas migration. The Associated Press reported the Grand Jury’s findings:

                “We find that, over a period of many years, and despite mounting
         evidence, Cabot . . . failed to acknowledge and correct conduct that
         polluted Pennsylvania water through stray gas migration,” the grand jury
         wrote, criticizing Cabot’s “long-term indifference to the damage it
         caused to the environment and citizens of Susquehanna County.”

                                      *     *      *

                “Cabot took shortcuts that broke the law, damaged our
         environment, harming our water supplies and endangering
         Pennsylvanians. They put their bottom line ahead of the health and
         safety of our neighbors,” Attorney General Josh Shapiro said in a video
         statement.

                                      *     *      *

                The company has long insisted the gas in Dimock’s aquifer is
         naturally occurring, saying its pre-drill testing of thousands of private
         water wells in the area show a high percentage with methane. The grand
         jury asserted that Cabot’s initial sampling of wells and groundwater did
         not include tests for methane. State environmental regulators eventually
         determined that Cabot’s drilling and fracking operations leaked
         explosive levels of methane into private water supplies.

                                      *     *      *

                Residents said they suffered ill health effects from the
         contamination of their water with methane and drilling chemicals,
         including nausea, dizziness, skin rashes, impaired vision and breathing
         difficulties. Property values plummeted, too, they said.



                                          - 66 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 72 of 102




         141. The criminal case against Cabot is ongoing, and a preliminary hearing is

scheduled to take place in the matter on July 20, 2021.

         142. As a result of Defendants’ wrongful acts and omissions, Plaintiffs and the

Class purchased Cabot common stock at artificially inflated prices and were damaged

thereby.

VIII. DEFENDANTS ACTED WITH SCIENTER

         143. The Defendants acted with scienter in that they knew or recklessly

disregarded that the public documents and statements issued or disseminated in the

name of the Company were materially false and misleading. The Defendants

knowingly or recklessly participated or acquiesced in the issuance or dissemination of

such statements or documents as primary violators of the federal securities laws.

         144. By virtue of their receipt of information reflecting the true facts regarding

Cabot’s operations, as well as their control over and/or receipt of the Company’s

materially misleading misstatements and/or their associations with the Company that

made them privy to confidential proprietary information concerning Cabot, the

Defendants were active and culpable participants in the fraudulent scheme alleged

herein. The Defendants knew of and/or recklessly disregarded the alleged false and

misleading information they caused to be disseminated to the investing public. The

ongoing fraud as described involved personnel at the highest level of the Company,

including the Individual Defendants, and could not have been perpetrated without the

                                           - 67 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 73 of 102




knowledge and/or reckless complicity of personnel at the highest level of the

Company, including the Individual Defendants and other senior executives.

         145. Numerous facts support a strong inference of the Defendants’ scienter

during the Class Period, including: (a) the Individual Defendants’ knowledge of and

access to information and reports reflecting that Cabot was not in compliance with

relevant environmental laws; (b) Defendants’ obligations associated with Cabot’s

disclosure controls and environmental compliance; and (c) that the misstatements and

omissions of material facts concerned the Company’s core operations.

         146. As detailed herein, there are numerous facts that, taken holistically, give

rise to a strong inference that, throughout the Class Period, the Individual Defendants

and Cabot knew or, at a minimum, recklessly disregarded that their statements were

materially false and misleading. The cumulative knowledge of Cabot’s management

team, including, but not limited to, the Individual Defendants, is properly imputed to

Cabot.

         A.         The PaDEP and Criminal Investigation Findings
                    Contribute to a Strong Inference of Defendants’ Scienter

         147. The pervasive illegal behavior alleged herein is probative of Defendants’

scienter. Here, the Grand Jury and PaDEP investigations demonstrate that prior to and

throughout the Class Period, Cabot ignored known violations of environmental law –

that the Company’s drilling operations caused methane gas to migrate into the water

supply of Susquehanna County citizens – and failed to remediate these violations for
                                     - 68 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 74 of 102




years. Much of the same illegal conduct was also detailed in the June 11, 2018

PaDEP letter to Cabot. See §§V.E.-G.

         148. As detailed herein (see §§V.E.-F.), the PaDEP repeatedly put Cabot on

notice prior to and throughout the Class Period, through the November 2009, April

2010, and December 2010 Consent Orders, and the NOVs issued to the Company, that

Cabot’s drilling operations were unlawfully polluting Pennsylvania groundwater, but,

nevertheless, Cabot failed to meet its obligation to remediate these offenses, resulting

in rampant and repeated violations of environmental law.

         B.         Defendants Have Engaged in a Pattern of Wrongdoing

         149. Courts have recognized that “pattern evidence” (i.e., evidence that a

defendant participated in a pattern of malfeasance over a significant period of time), is

probative of scienter. As detailed herein, the Grand Jury and PaDEP investigations

and factual findings demonstrate that Cabot exhibited a pattern of willful violation of

applicable environmental laws, regulations and other legal obligations over more than

a decade. By way of example, Cabot failed to remediate faulty gas wells for years on

end and even attempted to avoid liability by consciously failing to establish baseline

methane levels in water wells near Cabot drill sites so that Defendants could maintain

plausible deniability regarding their violations. See §V.E.




                                          - 69 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 75 of 102




         C.         Cabot’s Gas Exploration and Production in Pennsylvania Is
                    a Core Operation

         150. Defendants’ knowledge of or reckless disregard for Cabot’s

noncompliance with environmental law in the Company’s Susquehanna County gas

exploration and production operations discussed herein can readily be inferred

because these operations were existential to the Company’s business. Substantially all

of Cabot’s oil and gas production occurred in Susquehanna County during the Class

Period. See ¶¶28-30. Cabot indeed refers to its Marcellus Shale properties there as its

“core operations.” Cabot quite literally obtains essentially all of its revenue from its

activities in Pennsylvania – the site of its pervasive violations of applicable laws.

         D.         Defendants’ Internal Reporting Tracked Cabot’s
                    (Non)Compliance with Environmental Laws

         151. As detailed herein, Cabot’s management and Board closely monitored the

Company’s compliance with environmental laws. See §§V.C.1.-3. Dinges was the

Chairman of the Board throughout the Class Period. Moreover, management provided

the S&EA Committee reports on investigations, notices of violations, and remediation

activities involving environmental laws or regulations. In particular, during the Class

Period, as set forth above, Cabot received multiple notices of violation from

Pennsylvania authorities related to Cabot’s wells in Pennsylvania, and was subject to

an extended investigation by the Pennsylvania Attorney General that resulted in

numerous criminal charges in 2020. The Audit Committee also received reports from

                                           - 70 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 76 of 102




management concerning regulatory risks. And Cabot “routinely reviewed” its

operations purportedly to improve its environmental compliance. The Company,

indeed, held daily meetings to discuss well operations, including any problems with

those wells, which were attended by Stalnaker who, according to Dinges, “runs our

Marcellus” Shale operations.          In addition, other internal reports accessed and

accessible by Cabot’s management, such as each gas well’s cement bond logs, would

have informed Cabot that its wells were not cemented properly so as to prevent stray

gas migration into groundwater. See §V.G.

         152. These reports informed Cabot’s executives that, as detailed in the PaDEP

and Grand Jury investigations, the Company was not undertaking ongoing

remediation to address the environmental violations cited in the June 11, 2018 PaDEP

letter or otherwise originating from Cabot’s defective cement and casing activities,

which permitted methane to migrate into fresh groundwater sources throughout

Susquehanna County prior to and during the Class Period, in violation of applicable

environmental laws and regulations.

         E.         Dinges Was Personally Involved in Addressing the
                    Allegations that Cabot’s Drilling Operations Polluted
                    Pennsylvania Waters

         153. Amid the ongoing controversy concerning Dimock, which began after

Cabot started drilling there in 2008, Dinges stated in an April 27, 2010 Cabot press

release that the Company has “been an active member of the Appalachia exploration

                                            - 71 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 77 of 102




and production community for over 120 years, and throughout that time we have been

committed to conducting compliant, safe operations,” and assured the public that “we

take every issue involving people and the environment very seriously, and we

appreciate the sensitive nature of methane in the water for the citizens of the

Commonwealth.”

         154. Dinges reiterated his purported commitment to environmental

compliance days later on an April 29, 2010 conference call: “Cabot takes safety in all

environmental matters extremely seriously. As Cabot announced Tuesday night in a

press release, we will continue to cooperate fully with the Pennsylvania DEP to

remedy and resolve the items from the consent order.” In fact, this messaging became

a common refrain for Dinges. During a July 22, 2010 conference call, Dinges

promised that “Cabot will continue to work with the DEP and the families affected by

the operations to the complete satisfaction and a good conclusion,” noting that he

thought the “issue ha[d] cast uncertainty with the Street on Cabot’s ability to conduct

operations in Pennsylvania.”

         155. When Cabot announced the December 2010 Consent Order, which

Dinges himself signed, he told investors in a December 15, 2010 press release that

Cabot was “committed to responsible operations within Susquehanna County,” and

stated that the “we have redoubled our efforts with the Pennsylvania Department of

Environmental Resources to resolve past issues.”

                                        - 72 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 78 of 102




         156. Market analysts reacted favorably to the prospect that Cabot appeared

committed to rebuilding its reputation.       One analyst from KeyBanc wrote on

December 14, 2010: “We believe a settlement would be received favorably by the

market, as it would remove a hangover on the stock caused by the negative press

associated with its Marcellus operations.” Another analyst from BMO published a

report on December 15, 2010, stating: “This is a positive development for Cabot.

With the resolution of the water claims and the lifting of the drilling ban, Cabot can

begin to repair its reputation, which is likely to facilitate smoother interactions with

land holders and reduce delays in drilling and completion activities.”

         157. A few month later, Dinges again assured investors and the community on

a April 28, 2011 conference call that he and the Company were “doing all we can

right now to mitigate any potential risks” relating to gas migrations potentially caused

by the Company’s drilling operations.

         158. Dinges’s intimate personal involvement in promising investors and the

public that Cabot was addressing the problems raised in the December 2010 Consent

Order further evidences his scienter. Dinges’s detailed pronouncements on this topic

provide strong circumstantial evidence that he received or recklessly disregarded

information about such matters, which demonstrated, as detailed in the PaDEP and

Grand Jury investigations, that Cabot was not, in fact, remediating its gas wells in the

Dimock area under the terms of the December 2010 Consent Order.

                                         - 73 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 79 of 102




         F.         Defendants Were Incentivized to Ignore Cabot’s Criminal
                    Violations of Environmental Law

         159. Cabot operated in a highly competitive industry and experienced “strong”

and “intense” competition in its primary gas production business. Moreover, Cabot’s

competitors had “financial and technological resources and exploration and

development budgets that are substantially greater than” Cabot’s.

         160. Cabot’s focus was therefore on efficiency and, as the Geologist stated,

“doing things fast and as cost effectively as possible,” not on environmental

compliance. As Dinges noted in a July 28, 2016 press release, Cabot was expanding

the activity levels of its Marcellus operations ‘“[b]ased on continued efficiency

gains’” and “lower service costs” as Cabot was the ‘“lowest cost producer in

Northeast Pennsylvania.’” Yet Cabot still worked to “optimize” their drilling,

completion and operational efficiencies, to continue to “lower operating costs per unit

of production.”

         161. And the increased volatility in commodities prices during the Class

Period only “dr[o]ve[] [Cabot] to be more efficient,” as Dinges said in a October 28,

2016 press release, adding: ‘“We have been successful at creating a free cash flow

positive investment program that still generates growth, while simultaneously driving

down our cost structure and our resulting breakeven levels.’” Cabot’s focus on

“efficiency” in order to drive revenue incentivized the Defendants to ignore

environmental compliance, especially given that the PaDEP was initially
                                   - 74 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 80 of 102




overwhelmed by the size and scope of the fracking boom in Pennsylvania. As the

Attorney General stated on June 15, “[t]he game that Cabot continues to play, risking

the lives of people across the Commonwealth for a profit, well, that cannot go on any

longer.”

         G.         Defendants’ Violation of Company Policy Supports an
                    Inference of Scienter

         162. The Company purports to have a robust policy of compliance with

environmental laws. See §V.C, supra. To that end, Cabot’s Code of Conduct states

that the “Company will conduct operations in such a manner as to meet or exceed all

Environmental Laws in its business activities.” ¶48. Despite these commitments, the

Company continuously violated its own policies throughout the Class Period by

knowingly failing to abide by the Clean Streams Law and regulations promulgated

under the Oil and Gas Act prohibiting stray gas pollution and requiring sound

cementing of its well casings. See §§V.E.-G., supra. These violations enhance the

inference of scienter.

         H.         Cabot Operates in a Highly Regulated Industry

         163. As acknowledged in various Company SEC filings during the Class

Period, Cabot is subject to extensive federal, state, and local laws and regulations

relating to its drilling and production operations. Violations of those laws and

regulations subjected Cabot to extensive fines, penalties, and business disruptions.

Given this comprehensive and onerous regulatory scheme, it can be inferred that the
                                           - 75 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 81 of 102




Individual Defendants and those working at or under their direction closely monitored

the Company’s compliance with environmental law during the Class Period.

         I.         Dinges’s and Schroeder’s SOX Certifications and Signing of
                    SEC Filings Further Support a Strong Inference of Scienter
         164. Defendants’ scienter is also underscored by the Sarbanes-Oxley

certifications signed by Dinges and Schroeder, which acknowledged their

responsibility to investors for establishing and maintaining controls to ensure that

material information about Cabot was made known to them and that the Company’s

disclosure controls were operating effectively.

         165. During the Class Period, Dinges and Schroeder repeatedly certified that

they had undertaken an assessment and evaluation of the Company’s disclosure

controls to ensure that their SEC filings did not contain any false information,

including controls designed to ensure all relevant and material information is reviewed

by Dinges and Schroeder prior to certifying those filings pursuant to Sarbanes-Oxley.

This further establishes that Dinges and Schroeder knowingly misled the market, or

were reckless in making such representations and executing such certifications

because Dinges and Schroeder were at that time aware of and/or recklessly

disregarded material weaknesses in Cabot’s system of internal controls concerning

environmental compliance and disclosures regarding the same that were not disclosed

to the investing public.


                                           - 76 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 82 of 102




         J.         The Duration and Magnitude of the Misconduct Adds to the
                    Inference of Scienter

         166. The duration and magnitude of the misconduct also supports an inference

of scienter. That Cabot’s knowing non-compliance with applicable environmental law

continued for several years relating to multiple different wells in multiple different

locations following the December 2010 Consent Order demonstrates that the fraud

was not the result of a temporary lapse in otherwise rigorous management oversight,

but rather was caused by a sustained course of misconduct facilitated by Cabot’s

senior executives that rose to the level of felony crimes.

         K.         Dinges’s Stock Sales Support a Motive to Commit Fraud

         167. Dinges was CEO and Chairman of the Board and, as set forth herein,

possessed material non-public information regarding Cabot’s business. Dinges

exploited his access to and knowledge of material non-public information by selling

66,610 shares of Cabot stock at artificially inflated prices for over $1.8 million in

proceeds on November 2, 2017.

         168. Dinges’s stock sales during the Class Period were both suspicious and

unusual. His November 2017 transactions occurred while the price of Cabot common

stock was near its Class Period high and just two weeks before Cabot formally

received the November 16, 2017 NOV from the PaDEP relating to repeated prior

failures to prevent the migration of gas into fresh groundwater caused by drilling at

Cabot wells. Moreover, Dinges did not regularly sell his Cabot stock. Prior to
                                          - 77 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 83 of 102




November 2017, Dinges had not sold any other Cabot stock during the Class Period.

In fact, Dinges’s last sale of Cabot stock occurred in 2012, five years earlier. His

November 2017 stock sales were therefore out of the ordinary and occurred while he

was in possession of material non-public information concerning Cabot’s non-

compliance with environmental law.

IX.      LOSS CAUSATION

         169. Defendants’ wrongful conduct, as alleged herein, directly and

proximately caused Plaintiffs’ and Class members’ economic loss. Plaintiffs’ claims

for securities fraud are asserted under the fraud-on-the-market theory of reliance. The

markets for Cabot’s common stock were open, well-developed and efficient at all

relevant times. During the Class Period, as detailed herein, Defendants made false

and misleading statements by misrepresenting that Cabot had remediated faulty wells

that were polluting Pennsylvania’s water supplies with methane and other noxious

chemicals. Defendants’ conduct artificially inflated the price of Cabot common stock

and operated as a fraud or deceit on the Class.

         170. The Class Period inflation in Cabot’s stock price was removed when

information concealed by Defendants’ false or misleading statements was revealed to

the market. The information was disseminated through partial disclosures that

revealed the nature and extent of Defendants’ failure to remediate the faulty wells.

These disclosures, as more particularly described below, removed artificial inflation

                                        - 78 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 84 of 102




from Cabot common stock, causing economic injury to Plaintiffs and other members

of the Class.

         171. The corrective impact of the partial disclosure during the Class Period

alleged herein, however, was tempered by Defendants’ continued false and misleading

statements that continued to conceal the true nature of Defendants’ fraud. The partial

disclosure did not on its own fully remove the inflation from Cabot’s stock price,

because it only partially revealed the nature and extent of the fallout from Defendants’

previously misrepresented and concealed well remediation activities. Defendants’

continued misrepresentations maintained the price of Cabot common stock at a level

that was inflated by fraud, inducing members of the Class to continue purchasing

shares in Cabot even after Defendants’ partial disclosure.

         172. The disclosures that corrected the market price to eliminate the inflation

maintained by Defendants’ fraud are detailed below. These stock price declines were

due to firm-specific, fraud-related disclosures and not the result of market, industry, or

firm-specific, non-fraud factors.       The following stock price declines are not

necessarily comprehensive since fact and expert discovery are not complete.

         173. A partial disclosure relating to Cabot’s failure to remediate the faulty oil

wells entered the market on July 26, 2019, when Cabot filed disappointing 2Q19

financial results on Form 10-Q and disclosed that it had received two proposed

Consent Order and Agreements from the PaDEP “relating to gas migration allegations

                                           - 79 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 85 of 102




in areas surrounding several wells owned and operated by us in Susquehanna County,

Pennsylvania.” Defendants further disclosed that the Consent Order and Agreements

related to NOV received from the PaDEP nearly two years earlier – in November

2017 – “for failure to prevent the migration of gas into fresh groundwater sources in

the area surrounding these wells.”

         174. As a result of the July 26, 2019 partial disclosure, the price of Cabot

stock declined 12% on volume of more than 22.6 million shares to close at $19.16 per

share on July 26, 2019. In contrast to the 12% decline in Cabot common stock, the

Dow Jones U.S. Exploration & Production Index fell by less than a half a percent.4

         175. Despite the negative news disclosed in the July 26, 2019 Form 10-Q,

Defendants falsely reassured the market that Cabot had “performed appropriate

remediation efforts, including the provision of alternative sources of drinking water to

the affected residents.” Defendants also falsely stated that the violations giving rise to

the November 2017 Notices of Violation had been “resolved.” Defendants’ continued

false and misleading statements regarding Cabot’s remediation efforts and its

exposure related thereto, however, maintained artificial inflation in the price of

Cabot’s common stock.




4
       For purposes of comparing its stock price performance vis-à-vis the oil and gas market,
Cabot referred investors to the Dow Jones U.S. Exploration & Production Index.

                                           - 80 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 86 of 102




         176. Then, before the market opened on June 15, 2020, following the two-year

Grand Jury investigation, the Pennsylvania Attorney General’s office charged Cabot

with fifteen criminal counts – including nine felonies – arising from its failure to

remediate faulty gas wells, thereby polluting Pennsylvania’s water supplies through

stray gas migration. The Grand Jury report noted the Company’s “long-term

indifference” to the damage it caused to Pennsylvania water supplies. The Grand Jury

presentment continued: “We find that, over a period of many years, and despite

mounting evidence, Cabot Oil & Gas failed to acknowledge and correct conduct that

polluted Pennsylvania water through stray gas migration. Indeed, some of these gas

wells have been in place for more than a decade, yet Cabot has only recently taken

steps to remediate them.” In announcing the charge, Attorney General Shapiro stated:

“Cabot took shortcuts that broke the law, damaged our environment, harming our

water supplies and endangering Pennsylvanians. They put their bottom line ahead of

the health and safety of our neighbors.”

         177. As a result of the June 15, 2020 disclosure, the price of Cabot stock

declined more than 3% on volume of more than 7.6 million shares to close at $19.40

per share. In contrast to the more than 3% decline in Cabot common stock, the Dow

Jones U.S. Exploration & Production Index actually increased slightly.

         178. The chart below shows Cabot’s stock price during the Class Period and

the dates of Defendants’ disclosures:

                                         - 81 -
4839-4959-3828.v1
     Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 87 of 102




X.       APPLICABILITY OF THE PRESUMPTION OF RELIANCE
         AND FRAUD ON THE MARKET

         179. Plaintiffs will rely upon the presumption of reliance established by the

fraud-on-the-market doctrine in that, among other things:

                    (a)   Defendants made public misrepresentations or failed to disclose

material facts during the Class Period;

                    (b)   The omissions and misrepresentations were material;

                    (c)   Cabot common stock traded in an efficient market;

                    (d)   The misrepresentations alleged would tend to induce a reasonable

investor to misjudge the value of Cabot common stock; and


                                             - 82 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 88 of 102




                    (e)   Plaintiffs and other members of the Class purchased Cabot

common stock between the time Defendants misrepresented or failed to disclose

material facts and the time the true facts were disclosed, without knowledge of the

misrepresented or omitted facts.

         180. At all relevant times, the market for Cabot common stock was efficient

for the following reasons, among others:

                    (a)   Cabot common stock met the requirements for listing, and was

listed and actively traded on the NYSE, a highly efficient and automated market;

                    (b)   As a regulated issuer, Cabot filed periodic public reports with the

SEC; and

                    (c)   Cabot regularly communicated with public investors via

established market communication mechanisms, including through regular

dissemination of press releases on the major news wire services and through other

wide-ranging public disclosures, such as communications with the financial press,

securities analysts and other similar reporting services.

XI.      NO SAFE HARBOR

         181. Many (if not all) of Defendants’ false and misleading statements during

the Class Period were not forward-looking statements (“FLS”) and/or identified as

such by Defendants, and thus did not fall within any “Safe Harbor.”



                                              - 83 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 89 of 102




         182. Defendants’ verbal “Safe Harbor” warnings accompanying its oral FLS

issued during the Class Period were ineffective to shield those statements from

liability.

         183. Defendants are also liable for any false or misleading FLS pleaded

because, at the time each FLS was made, the speaker knew the FLS was false or

misleading and the FLS was authorized and/or approved by an executive officer of

Cabot who knew that the FLS was false or misleading. Further, none of the historic or

present tense statements made by Defendants were assumptions underlying or relating

to any plan, projection or statement of future economic performance, as they were not

stated to be such assumptions underlying or relating to any projection or statement of

future economic performance when made.

XII. CLASS ACTION ALLEGATIONS

         184. Plaintiffs bring this action as a class action pursuant to Rule 23 of the

Federal Rules of Civil Procedure on behalf of all persons who purchased or otherwise

acquired Cabot common stock during the Class Period. Excluded from the Class are

Defendants and their families, the officers and directors of the Company, at all

relevant times, members of their immediate families and their legal representatives,

heirs, successors or assigns, and any entity in which Defendants have or had a

controlling interest.



                                          - 84 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 90 of 102




         185. The members of the Class are so numerous that joinder of all members is

impracticable. The Company’s stock is actively traded on the NYSE, and there are

nearly 400 million shares of Cabot stock outstanding. While the exact number of

Class members is unknown to Plaintiffs at this time and can only be ascertained

through appropriate discovery, Plaintiffs believe that there are hundreds or thousands

of members in the proposed Class. Record owners and other members of the Class

may be identified from records maintained by Cabot or its transfer agents and may be

notified of the pendency of this action by mail, using the form of notice similar to that

customarily used in securities class actions.

         186. Common questions of law and fact predominate and include: (i) whether

Defendants violated the 1934 Act; (ii) whether Defendants omitted and/or

misrepresented material facts; (iii) whether Defendants knew or recklessly disregarded

that their statements were false and misleading; and (iv) whether Defendants’

statements and/or omissions artificially inflated the price of Cabot common stock and

the extent and appropriate measure of damages.

         187. Plaintiffs’ claims are typical of the claims of the members of the Class as

all members of the Class are similarly affected by Defendants’ wrongful conduct in

violation of federal law that is complained of herein.




                                          - 85 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 91 of 102




         188. Plaintiffs will fairly and adequately protect the interests of the members

of the Class and have retained counsel competent and experienced in class and

securities litigation.

         189. A class action is superior to all other available methods for the fair and

efficient adjudication of this controversy since joinder of all members is

impracticable. Furthermore, as the damages suffered by individual Class members

may be relatively small per Class member, the expense and burden of individual

litigation make it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as

a class action.

XIII. CLAIMS FOR RELIEF

                                          COUNT I

                    For Violation of §10(b) of the 1934 Act and Rule 10b-5
                                   Against All Defendants

         190. Plaintiffs incorporate ¶¶1-189 by reference.

         191. During the Class Period, Defendants disseminated or approved the false

statements specified above, which they knew or recklessly disregarded were

misleading in that they contained misrepresentations and failed to disclose material

facts necessary in order to make the statements made, in light of the circumstances

under which they were made, not misleading.

         192. Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that they:
                                            - 86 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 92 of 102




                    (a)   Employed devices, schemes, and artifices to defraud;

                    (b)   Made untrue statements of material facts or omitted to state

material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading; or

                    (c)   Engaged in acts, practices, and a course of business that operated

as a fraud or deceit upon Plaintiffs and others similarly situated in connection with

their purchases of Cabot common stock during the Class Period.

         193. Plaintiffs and the Class have suffered damages in that, in reliance on the

integrity of the market, they paid artificially inflated prices for Cabot common stock.

Plaintiffs and the Class would not have purchased Cabot common stock at the prices

they paid, or at all, if they had been aware that the market prices had been artificially

and falsely inflated by Defendants’ misleading statements and omissions.

         194. As a direct and proximate result of these Defendants’ wrongful conduct,

Plaintiffs and the other members of the Class suffered damages in connection with

their purchases of Cabot common stock at artificially inflated prices during the Class

Period.

                                           COUNT II

                              For Violation of §20(a) of the 1934
                                 Act Against All Defendants

         195. Plaintiffs incorporate ¶¶1-194 by reference.


                                              - 87 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 93 of 102




         196. During the Class Period, the Defendants acted as controlling persons of

Cabot within the meaning of §20(a) of the 1934 Act. By virtue of their positions and

their power to control public statements about the Company, the Individual

Defendants had the power and ability to control the actions of the Company and their

employees. Cabot controlled the Individual Defendants and its other officers and

employees. By reason of such conduct, Defendants are liable pursuant to §20(a) of

the 1934 Act.

XIV. PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs pray for judgment as follows:

         A.         Determining that this action is a proper class action, certifying Plaintiffs

as class representatives under Rule 23 of the Federal Rules of Civil Procedure, and

designating Plaintiffs’ counsel as Class Counsel;

         B.         Awarding Plaintiffs and the members of the Class damages and interest;

         C.         Awarding Plaintiffs’ reasonable costs, including attorneys’ fees; and

         D.         Awarding such equitable/injunctive or other relief as the Court may deem

just and proper.




                                                - 88 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 94 of 102




XV. JURY DEMAND

         Plaintiffs demand a trial by jury.

DATED: April 12, 2021                          SAXTON & STUMP
                                               LAWRENCE F. STENGEL (PA #32809)


                                                       s/ LAWRENCE F. STENGEL
                                                        LAWRENCE F. STENGEL

                                               280 Granite Run Drive, Suite 300
                                               Lancaster, PA 17601
                                               Telephone: 717/556-1000
                                               717/441-3810 (fax)
                                               lfs@saxtonstump.com

                                               Local Counsel for Lead Plaintiff

                                               ROBBINS GELLER RUDMAN
                                                 & DOWD LLP
                                               DARRYL J. ALVARADO
                                               KEVIN A. LAVELLE
                                               FRANCISCO J. MEJIA
                                               655 West Broadway, Suite 1900
                                               San Diego, CA 92101-8498
                                               Telephone: 619/231-1058
                                               619/231-7423 (fax)
                                               dalvarado@rgrdlaw.com
                                               klavelle@rgrdlaw.com
                                               fmejia@rgrdlaw.com

                                               Lead Counsel for Lead Plaintiff




                                              - 89 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 95 of 102




                                      KESSLER TOPAZ MELTZER
                                        & CHECK, LLP
                                      ANDREW L. ZIVITZ
                                      JOSHUA E. D’ANCONA
                                      HENRY W. LONGLEY
                                      280 King of Prussia Road
                                      Radnor, PA 19087
                                      Telephone: 610/667-7706
                                      610/667-7056 (fax)
                                      azivitz@ktmc.com
                                      jdancona@ktmc.com
                                      hlongley@ktmc.com

                                      Additional Counsel for the Class




                                     - 90 -
4839-4959-3828.v1
    Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 96 of 102




                              CERTIFICATE OF SERVICE

         I hereby certify under penalty of perjury that on April 12, 2021, I authorized the

electronic filing of the foregoing with the Clerk of the Court using the CM/ECF

system which will send notification of such filing to the e-mail addresses on the

attached Electronic Mail Notice List, and I hereby certify that I caused the mailing of

the foregoing via the United States Postal Service to the non-CM/ECF participants

indicated on the attached Manual Notice List.

                                               s/ LAWRENCE F. STENGEL
                                               LAWRENCE F. STENGEL

                                               280 Granite Run Drive, Suite 300
                                               Lancaster, PA 17601
                                               Telephone: 717/556-1000
                                               717/441-3810 (fax)

                                               E-mail: lfs@saxtonstump.com




                                            -1-
4839-4959-3828.v1
4/12/2021        Case 4:21-cv-02045 Document 47   Filed Middle
                                             Pennsylvania on 04/12/21        in 6.1-
                                                               District Version TXSD Page 97 of 102
Mailing Information for a Case 3:20-cv-01815-CCC Delaware County
Employees Retirement System v. Cabot Oil & Gas Corporation et al
Electronic Mail Notice List

The following are those who are currently on the list to receive e-mail notices for this case.

        Amy L. Barrette
        amy.barrette@bipc.com,tara.klingensmith@bipc.com

        Lawrence F. Stengel
        lfs@saxtonstump.com,cag@saxtonstump.com,jss@saxtonstump.com

        Peter Stokes
        peter.stokes@nortonrosefulbright.com

Manual Notice List

The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who therefore
require manual noticing). You may wish to use your mouse to select and copy this list into your word processing
program in order to create notices or labels for these recipients.
Darryl               J. Alvarado
Robbins Geller Rudman & Dowd, LLP
655 West Broadway
Suite 1900
San Diego, CA 92101

Kevin                A. Lavelle
Robbins Geller Rudman & Dowd, LLP
655 West Broadway
Suite 1900
San Diego, CA 92101

Francisco            J. Mejia
Robbins Geller Rudman & Dowd, LLP
655 West Broadway
Suite 1900
San Diego, CA 92101

Gerard               G. Pecht
Norton Rose Fulbright US LLP
Fulbright Tower
1301 McKinney
Suite 5100
Houston, TX 77010




https://ecf.pamd.uscourts.gov/cgi-bin/MailList.pl?948586049009276-L_1_0-1                                               1/1
Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 98 of 102




                          EXHIBIT A
 Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 99 of 102




                                         CERTIFICATION

        Iron Workers District Council (Philadelphia and Vicinity) Retirement and Pension Plan

(“Plaintiff’) declares, as to the claims asserted under the federal securities laws, that:

        1.      Plaintiff did not purchase the securities that are the subject of this action at the

direction of Plaintiff s counsel or in order to participate in any private action.

        2.      Plaintiff is willing to serve as a representative party on behalf of the class, including

providing testimony at deposition and trial, if necessary.

        3.      Plaintiffs Class Period purchase and sale transactions in Cabot Oil & Gas

Corporation securities that are the subject of this action are attached in Schedule A.

        4.      Plaintiff has full power and authority to bring suit to recover for its investment losses.

        5.      Plaintiff has fully reviewed the facts and allegations of the Consolidated Complaint

for Violation of the Federal Securities Laws and authorizes its filing.

        6.      I, William Kolfenbach, Plan Administrator, am authorized to make legal decisions on

Plaintiffs behalf.

        7.      Plaintiff intends to actively monitor and vigorously pursue this action for the benefit

of the class.

        8.      Plaintiff will endeavor to provide fair and adequate representation and work directly

with the efforts of class counsel to ensure that the largest recovery for the class consistent with good

faith and meritorious judgment is obtained.

        9.      Plaintiff has served as a representative party for a class action filed under the federal

securities laws during the three years prior to the date of this Certification in Iron Workers District
Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 100 of 102




Council (Philadelphia & Vicinity) Retirement & Pension Plan v. The Kraft Heinz Co., No. 19-cv-
                                                                                  i
1845 (N.D. Ill.) (filed initial complaint, not appointed lead plaintiff).

         10.     Plaintiff sought to serve (but was not appointed as of the date of this Certification) as

a representative party for a class action filed under the federal securities laws during the three years

prior to the date of this Certification in: In re Aegean Marine Petroleum Network, Inc. Securities

Litigation, No. 18-cv-4993 (S.D.N.Y.); In re Newell Brands, Inc. Securities Litigation, No. 18-cv-

10878 (D.N.J.); Construction Laborers Pension Trustfor Southern Californiav. CBS Corp.,Vlo. 18-

cv-7796 (S.D.N.Y.); and Georgia Firefighters’ Pension Fundv. Anadarko Petroleum Carp., No. 20-

cv-576 (S.D. Tex.).

         11.     Plaintiff will not accept any payment for serving as a representative party on behalf of

the class beyond Plaintiff s pro rata share of any recovery, except such reasonable costs and expenses

(including lost wages) directly relating to the representation of the class as ordered or approved by

the Court.

         I declare under penalty of perjury that the foregoing is true and correct.

        Executed this                day of April 2021.

                                                      Iron Workers District Council (Philadelphia
                                                      and Vicinity) Retirement and Pension Plan



                                                      By       /v
                                                           William Kolfenbach
                                                           Plan Administrator
                                                                                         C



1 Iron Workers District Council (Philadelphia & Vicinity) Retirement & Pension Plan v. The Kraft Heinz Co., No.
19-cv-1845 (N.D. Ill.), was consolidated into In re Kraft Heinz Securities Litigation, No. 19-cv-1339 (N.D. Ill.).
Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 101 of 102




                              SCHEDULE A

       Security          Buv/Sell   Date         Quantity   Price
       Common Stock      BUY        9/1/2017     5,788      $26.46
       Common Stock      BUY        11/2/2018    1,300      $24.46
       Common Stock      BUY        11/5/2018    100        $26.12
       Common Stock      BUY        11/5/2018    700        $25.71
       Common Stock      BUY        11/5/2018    100        $26.14
       Common Stock      BUY        11/6/2018    184        $25.77
       Common Stock      BUY        11/6/2018    200        $25.64
       Common Stock      BUY        11/13/2018   387        $26.66
       Common Stock      BUY        11/27/2018   636        $24.30
       Common Stock      BUY        11/27/2018   500        $24.48
       Common Stock      BUY        11/27/2018   400        $24.35
       Common Stock      BUY        12/14/2018   100        $23.28
       Common Stock      BUY        12/14/2018   260        $23.32
       Common Stock      BUY        12/14/2018   100        $23.31
       Common Stock      BUY        12/17/2018   100        $22.60
       Common Stock      BUY        12/17/2018   100        $22.58
       Common Stock      BUY        12/17/2018   324        $22.63
       Common Stock      BUY        12/17/2018   96         $22.61
       Common Stock      BUY        12/27/2018   31         $22.94
       Common Stock      BUY        2/4/2019     100        $24.87
       Common Stock      BUY        2/5/2019     500        $24.89
       Common Stock      BUY        2/6/2019     195        $24.35
       Common Stock      BUY        2/15/2019    1,271      $25.07
       Common Stock      BUY        3/13/2019    756        $25.94
       Common Stock      BUY        6/25/2019    66         $22.98
       Common Stock      BUY        7/29/2019    1,030      $19.11
       Common Stock      BUY        8/19/2019    111        $16.75
       Common Stock      BUY        8/19/2019    200        $16.74
       Common Stock      BUY        11/11/2019   400        $17.92
       Common Stock      BUY        11/11/2019   430        $17.80
       Common Stock      BUY        11/22/2019   400        $16.45
       Common Stock      BUY        11/22/2019   100        $16.41
       Common Stock      BUY        11/22/2019   600        $16.41
       Common Stock      BUY        11/25/2019   347        $16.71
       Common Stock      BUY        1/2/2020     100        $17.11
       Common Stock      BUY        1/2/2020     299        $17.16
       Common Stock      BUY        1/2/2020     500        $17.04
       Common Stock      BUY        2/3/2020     100        $14.19
       Common Stock      BUY        2/3/2020     600        $14.20
Case 4:21-cv-02045 Document 47 Filed on 04/12/21 in TXSD Page 102 of 102




       Common Stock      BUY       2/4/2020    92       $14.62
       Common Stock      BUY       2/28/2020   923      $13.56
       Common Stock      BUY       2/28/2020   100      $13.67
       Common Stock      SELL      1/8/2018    234      $28.72
       Common Stock      SELL      1/9/2018     1,196   $29.01
       Common Stock      SELL      1/10/2018   874      $28.40
       Common Stock      SELL      1/11/2018    1,066   $28.47
       Common Stock      SELL      1/12/2018    1,214   $28.61
       Common Stock      SELL      1/16/2018   1,204    $28.23
       Common Stock      SELL      3/20/2020   600      $15.54
       Common Stock      SELL      3/20/2020    100     $15.94
       Common Stock      SELL      4/9/2020     600     $18.94
       Common Stock      SELL      4/9/2020     100     $18.88
       Common Stock      SELL      4/13/2020   682      $19.20
       Common Stock      SELL      4/21/2020   500      $21.08
       Common Stock      SELL      4/21/2020    100     $21.19
       Common Stock      SELL      4/21/2020    100     $20.90
       Common Stock      SELL      4/21/2020    100     $21.03
       Common Stock      SELL      4/22/2020   900      $20.84
       Common Stock      SELL      4/22/2020   100      $20.72
       Common Stock      SELL      4/23/2020   100      $20.54
       Common Stock      SELL      4/23/2020   481      $20.31
       Common Stock      SELL      5/4/2020     300     $19.91
       Common Stock      SELL      5/4/2020     100     $19.96
       Common Stock      SELL      5/4/2020     200     $20.02
       Common Stock      SELL      5/4/2020     205     $20.14
